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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 PAUL LEHRMAN, et al.,
                               Plaintiffs,
                                                                   24-CV-3770 (JPO)
                     -v-
                                                                OPINION AND ORDER
 LOVO, INC.,
                               Defendant.


J. PAUL OETKEN, District Judge:

       Plaintiffs Paul Lehrman and Linnea Sage bring this putative class action against

Defendant Lovo, Inc. (“Lovo”) alleging that Lovo used artificial intelligence (“AI”) to synthesize

and sell unauthorized “clones” of their voices. Plaintiffs assert claims for violations of New

York civil rights and consumer protection laws, the Lanham Act, and the Copyright Act, along

with common-law contract, fraud, conversion, unjust enrichment, and unfair competition claims.

Before the Court now is Lovo’s motion to dismiss all claims.

       This case involves a number of difficult questions, some of first impression. It also

carries potentially weighty consequences not only for voice actors, but also for the burgeoning

AI industry, other holders and users of intellectual property, and ordinary citizens who may fear

the loss of dominion over their own identities.

       Ultimately the Court concludes that, for the most part, Plaintiffs have not stated

cognizable claims under federal trademark and copyright law. However, that does not mean they

are without a remedy. Rather, claims for misappropriation of a voice, like the ones here, may be

properly asserted under Sections 50 and 51 of the New York Civil Rights Law, which, unlike

copyright and trademark law, are tailored to balance the unique interests at stake. Plaintiffs also

adequately state claims under state consumer protection law and for ordinary breach of contract.



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For those and the further reasons that follow, Lovo’s motion to dismiss is granted in part and

denied in part.

I.     Background

       A.         Factual Background

       The following facts are taken from the operative complaint and are presumed true for

purposes of this opinion. See Fink v. Time Warner Cable, 714 F.3d 739, 740-41 (2d Cir. 2013).

Plaintiffs Paul Lehrman and Linnea Sage are voice-over actors living and working in New York.

(ECF No. 22 (“AC”) ¶¶ 6-7.) They are hired to read scripts, creating recordings that their clients

then edit, potentially revise, and ultimately incorporate into other forms of media. (Id. ¶ 17.)

They are paid “a negotiated amount for the use of their voices, and typically for the time spent

recording the requested audio,” which usually includes “upfront fees, royalties, residuals, or

some combination of [those] payments.” (Id. ¶ 18.) Pay per project can vary from hundreds to

thousands of dollars. (Id. ¶ 19.) Lehrman’s work has been featured in the television shows Blue

Bloods, New Amsterdam, and The Resident, and in several movies. (Id. ¶ 41.) Sage’s work has

been featured in advertisements for major brands, in a Marvel video game, on mobile apps and

podcasts, on international television, and more. (Id. ¶ 42.)

       Defendant Lovo “sells a text-to-speech subscription service that allows its clients to

generate voice-over narrations at a fraction of the cost of the traditional model,” and it bills itself

as “revolution[izing]” the industry. (Id. ¶ 21.) Lovo produces its audio using “AI-driven

software known as ‘Generator’ or ‘Genny’,” which it claims was “created using ‘1000s of

voices.’” (Id. ¶ 21-22.) Genny is capable of creating a voice “clone,” which “refers to a virtual

copy of a real person’s voice. Rather than using machine learning to synthesize an original AI

voice, voice cloning technology replicates an existing human voice.” (Id. ¶ 23 (quoting Carol

Moh, Synthetic Voice and Voice Cloning, Lovo (July 17, 2023), lovo.ai/post/synthetic-voice-and-


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voice-cloning (last visited June 18, 2025)).) Lovo has advertised its voice cloning service by

emphasizing how similar its cloned voices are to the originals from which they are derived. (Id.

¶ 24.) In one marketing video, Lovo told viewers “you will hear five speakers whose voices

have been cloned to near perfection. Their tone, accent, and even mannerisms are fully learned

by our AI voice system.” (Id.) 1 One of Lovo’s co-founders described a cloned voice as a
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replacement for “a real human voice,” allowing users of Lovo’s platform to “make that voice say

anything that you want, even if that person has never actually said that before in their life.” (Id.

¶ 26).

         Lovo cautions its customers not to “use [a] cloned voice for imitation of

celebrities, . . . only . . . for personal entertainment purposes!” (Id. ¶ 28.) However, Lovo also

advertises the commercial use of its platform to “Save $$ and time on voiceovers.” (Id. ¶ 32.)

Whatever its users’ true intentions, “Lovo represents to its customers that Lovo is granting full

commercial rights for all content generated using its platform to users who subscribe to any of its

paid plans,” which cover “any monetized, business-related uses such as videos, audio books,

advertising, promotion, web page blogging, [and] product integration.” (Id. ¶ 36 (quoting Terms

of Service, Lovo (Sept. 26, 2024), https://lovo.ai/tos (last visited June 18, 2025)).)

         Lovo originally solicited Lehrman and Sage for the projects relevant to this action on an

“online marketplace” for freelance services called Fiverr.com (“Fiverr”). (Id. ¶¶ 44-45.) In May

2020 an anonymous Fiverr user, “User25199087,” who was “later identified by Lovo’s counsel

as a Lovo employee,” contacted Lehrman and hired him to “provide voice recordings for

‘research purposes’.” (Id. ¶ 45.) The employee assured Lehrman that the company would use

the recordings for “research purposes only,” and that such research would be only “internal” and


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             According to Sage, her voice was one of the clones featured in this video. (AC ¶ 24.)


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“academic” in nature. (Id. ¶¶ 47, 49.) Lehrman wrote back, asking User25199087 to “guarantee

that these scripts will not be used for anything other than your specific research project,” to

which User25199087 replied: “The scripts will not be used for anything else . . . .” (Id. ¶¶ 50-

51.) Lehrman also asked User25199087 to confirm that the script would not be “repurposed and

used in a different order,” which User25199087 also confirmed. (Id. ¶¶ 52-53.) Lehrman did

not deliver the scripts until after having these exchanges. (Id. ¶ 54.) Lehrman later filed for and

received copyright registrations for the recordings, but did not receive a decision on his

registration until over a month after filing the instant lawsuit. (Compare id. ¶ 56 with ECF No.

1.) Lehrman alleges that, had he known how the recordings would be used, “he would not have

agreed to provide the audio files to User25199087 or to Lovo.” (AC ¶ 58.) Lehrman was paid

$1,200 for his work. (Id. ¶ 55.)

       Sage’s story is similar. A Fiverr user with the screenname “tomlsg” first solicited Sage

on October 29, 2019. (Id. ¶ 76.) Plaintiffs allege that tomlsg was in fact Lovo co-founder Tom

Lee, though they do not allege that Sage knew his identity at the time of their initial interaction.

(Id. ¶ 82.) Before providing any recordings, Sage asked what they would be used for, and tomlsg

replied: “These are test scripts for radio ads. They will not be disclosed externally, and will only

be consumed internally, so will not require rights of any sort.” (Id. ¶¶ 77-78.) Sage asked

tomlsg to confirm that the recordings would not be used “in broadcast,” and tomlsg again

repeated the previous statement. (Id. ¶¶ 78-79.) Sage then delivered the recordings and Lovo

paid her $400 for her work. (Id. ¶¶ 80-81.) As with Lehrman, Sage later registered the

recordings with the United States Copyright Office, but did not do so until after filing the instant

action. (Compare id. ¶ 83 with ECF No. 1.)




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       Lehrman and Sage allege that they first learned that their voices had been used in

unanticipated ways when they listened to an episode of the Deadline Strike Talk podcast narrated

in part by an artificial voice produced by Lovo’s software. (AC ¶¶ 63-68.) The podcast was

produced in cooperation with the Massachusetts Institute of Technology, which confirmed that

the narration in question had been generated using “a paid subscription to Lovo.” (Id. ¶ 66.)

Plaintiffs allege that the voice used in the podcast was “identical to Mr. Lehrman’s voice.” (Id.

¶ 68.) Plaintiffs also allege that “[n]umerous people who heard the podcast,” including “friends”

and “professional colleagues” “told Mr. Lehrman or Ms. Sage” that the ”voice on the podcast

was virtually identical to Mr. Lehrman’s voice,” and that “the cloned voice would undoubtedly

be mistaken for Mr. Lehrman’s actual voice.” (Id. ¶ 70.) Plaintiffs also allege, and provide

several declarations purporting to confirm, that professionals “experience[d] [in] discerning and

conveying small differences in voice tone, quality, timbre, and delivery” believe that “Lovo’s

cloned voice is a replica of Mr. Lehrman’s real voice.” (Id. ¶ 74.)

       After hearing what appeared to be Lehrman’s voice on Deadline Strike Talk, Plaintiffs

sought to learn more about Lovo. (Id. ¶¶ 85-146.) Lehrman found that Lovo “had been

marketing [the clone of his voice] as part of its subscription service under the stage name ‘Kyle

Snow’” (id. ¶ 108), and that it was this “Kyle Snow” voice that he had heard on the podcast (id.

¶ 72). Lovo incorporated the Kyle Snow voice into advertisements on its website and YouTube

(id. ¶¶ 105-06), as well as in promotional articles posted to its website (id. ¶¶ 123-24). For

example, on June 21, 2023, Lovo allegedly published a “promotional piece” advertising the Kyle

Snow voice as “an ideal male voice generator . . . for all kinds of content” due to his “upbeat

tone and slightly faster talking speed.” (Id. ¶ 124.) Lovo published another article on July 10,

2023 titled “5 Best Practices For Perfect Audio Advertising,” which also featured the Kyle Snow




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voice. (Id. ¶ 123.) Based on YouTube videos posted prior to the filing of this action, Plaintiffs

allege that the Kyle Snow voice was “the default voice for [Lovo’s] software,” and estimate that,

as a result, it may have been utilized in thousands of projects made with the software. (Id.

¶¶ 125-26.) The Kyle Snow voice was also used in multiple Lovo-produced tutorials posted to

Lovo’s website. (Id. ¶ 132.) Lovo also allegedly used Lehrman’s recordings to “train its Genny

generator” more broadly. (Id. ¶ 109.)

       Sage discovered that Lovo had created a clone of her voice named “Sally Coleman” that

was available to Lovo’s subscribers. (Id. ¶¶ 93, 135-36.) Lovo also marketed its product using

“side-by-side” comparisons of Sage’s original audio recordings—the ones she provided via

Fiverr—and the “cloned version of her voice.” (Id. ¶ 86.) For example, Lovo incorporated such

a side-by-side comparison into a presentation at “the Berkeley SkyDeck Demo Day Spring

2020” event in a pitch to “raise money from investors.” (Id. ¶ 87.) Lovo then “posted the

presentation publicly on YouTube.” (Id.) Plaintiffs allege that the side-by-side comparison of

Sage’s real and cloned voices was still available on Lovo’s website as of the filing of the

Amended Complaint. (Id. ¶ 91.)

       According to Plaintiffs, the Kyle Snow and Sally Coleman voices are not synthetic

creations, composites, or amalgams, built from a multiplicity of input voices, but direct copies of

their specific voices. (Id. ¶ 23.) In support, Plaintiffs point to public statements Lovo and its

executives have made describing Lovo’s software. (Id. ¶¶ 23, 94-95.) In such statements, Lovo

has claimed that its product “reproduce[s]” actors’ voices in a way that is “practically

indistinguishable from the ‘real’ voice (id. ¶ 94 (quoting Anthony Kimery, Lovo Launches AI

‘voice-over’ platform that creates realistic human voices, Biometric Update (Apr. 21, 2020),

https://www.biometricupdate.com/202004/lovo-launches-ai-voice-over-platform-that-creates-




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realistic-human-voices (last visited June 18, 2025))) and, allegedly, that its software is capable of

“clon[ing] to perfection” the voices of specific speakers (id. ¶ 95 (emphasis in amended

complaint omitted)).

        On August 18, 2023, counsel for Plaintiffs sent a cease-and-desist letter to Lovo. In

response, Lovo wrote that the “fictitious characters” Kyle Snow and Sally Coleman had been

created using the voice recordings obtained from Lehrman and Sage through Fiverr in 2020 and

2019. (Id. ¶ 111.) Lovo claimed that its usage was “fully permissioned” and “not unauthorized.”

(Id. ¶ 112.) Lovo also wrote that “Kyle Snow and Sally Coleman are not popular and sales are

negligible” (id. ¶ 118), but that “Lovo unilaterally removed the characters” from its platform (id.

¶¶ 129, 119). Plaintiffs dispute this, alleging that the both the Kyle Snow and Sally Coleman

voices continued to be available on Lovo’s software and in Lovo’s marketing materials to this

day. (Id. ¶¶ 130, 141-46.)

        In addition to individual claims, Plaintiffs propose a “Voice Actor Class” comprising

        [a]ll persons whose voices were used by Lovo without permission or proper
        compensation for the purpose of creating or refining its AI text-to-speech generator;
        or whose AI-replicated voice was used, licensed, or sold without authorization or
        appropriate compensation; or whose name or stage name was used by Lovo to
        market its services without authorization or proper compensation.

(Id. ¶ 153.) They also propose a “Consumer Class” comprising

        all consumers who purchased the Lovo software and used the Lehrman, Sage, or other
        Voice Actor Class voices that were stolen, cloned, used, and sold by Lovo.

(Id. ¶ 154.) Plaintiffs assert their first, second, third, sixth, seventh, eighth, tenth, and sixteenth

causes of action both individually and on behalf of the Voice Actor Class. (Id. at 44, 47, 49, 55,

57, 60, 61, 69.) Plaintiffs assert their fourth, fifth, and ninth causes of action both individually

and on behalf of the Consumer Class. (Id. at 52, 53, 60.) Plaintiffs assert their eleventh through

fifteenth causes of action only individually. (Id. at 61-69.)



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       B.      Procedural Background

       Plaintiffs filed the original complaint in this action on May 16, 2024. (ECF No. 1.) After

an initial pretrial conference on August 12, 2024, Plaintiffs filed an amended complaint on

September 25, 2024. (AC.) Lovo then filed a motion to dismiss on November 25, 2024 (ECF

No. 27), along with a supporting memorandum of law (ECF No. 28 (“Mem.”)) and an attorney

declaration (ECF No. 29). Plaintiffs opposed the motion to dismiss on January 10, 2025 (ECF

No. 33 (“Opp.”)), and Lovo replied in support of the motion on January 31, 2025 (ECF No. 39

(“Reply”)). On January 21, 2025, the Court granted a partial stay of discovery pending its

resolution of Lovo’s motion to dismiss. (ECF No. 37.)

II.    Legal Standard

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a plaintiff

must allege “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). A claim is plausible “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This means that a complaint

is properly dismissed where “the allegations in a complaint, however true, could not raise a claim

of entitlement to relief.” Twombly, 550 U.S. at 558. A complaint is also properly dismissed

“where the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct.” Iqbal, 556 U.S. at 679. While “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice,” id. at 678, the Court must draw

“all inferences in the light most favorable to the non-moving party . . . .” In re NYSE Specialists

Sec. Litig., 503 F.3d 89, 95 (2d Cir. 2007). Determining whether a complaint states a plausible

claim is ultimately a “context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.” Iqbal, 556 U.S. at 679.


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III.   Discussion

       A.      Breach of Contract

       Because at least some of the non-contract claims in this action depend on the existence of

valid and enforceable contracts, the Court addresses Plaintiffs’ contract claims first. “To form a

valid contract under New York law, there must be an offer, acceptance, consideration, mutual

assent and intent to be bound.” Register.com, Inc. v. Verio, Inc., 356 F.3d 393, 427 (2d. Cir.

2004) (quotation marks omitted). While a plaintiff must allege “the essential terms of the

parties’ purported contract in nonconclusory language, including the specific provisions of the

contract upon which liability is predicated,” Accurate Grading Quality Assurance, Inc. v.

Khothari, No. 12-CV-9130, 2014 WL 5073576, at *9 (S.D.N.Y. Sept. 30, 2014) (quotation

marks omitted), it need not “attach a copy of the contract or plead its terms verbatim,” Window

Headquarters, Inc. v. MAI Basic Four, Inc., No. 91-CV-1816, 1993 WL 312899, at *3 (S.D.N.Y.

Aug. 12, 1993), nor is it “necessary for each element to be pleaded individually,” Berman v.

Sugo LLC, 580 F. Supp. 2d 191, 202 (S.D.N.Y. 2008).

       Despite Lovo’s protestations to the contrary (Mem. at 40-41), Plaintiffs have met their

burden here. Plaintiffs allege that they received offers to buy their voice recordings from Lovo’s

agents (FAC ¶¶ 45, 76, 81); that Plaintiffs agreed to accept those offers if and only if the agents

agreed to use the recordings in particular, circumscribed ways (id. ¶¶ 48-54, 77-80); that the

agents accepted the proposed conditions (id. ¶¶ 49, 51, 53, 78-79); that Plaintiffs delivered the

recordings (id. ¶¶ 54, 80); and that Lovo paid for the recordings (id. ¶¶ 55, 81). These exchanges

plausibly show offer and acceptance, the parties’ mutual intent to be bound, the terms of the

transfer, assent, and consideration.

       Lovo also argues that the putative contracts cannot be performed within one year and are

therefore invalid under the New York Statute of Frauds. (Mem. at 41 (quoting N.Y. Gen. Oblig.


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Law § 5-701).) Such contracts are “void, unless it or some note or memorandum thereof be in

writing, and subscribed by the party to be charged therewith, or by his lawful agent.” N.Y. Gen.

Oblig. Law § 5-701(a). “[T]o satisfy the Statute of Frauds, a purported contract ‘must contain

expressly or by reasonable implication all the material terms of the agreement.’” Del Toro v.

Novus Equities, LLC, No. 20-CV-1002, 2024 WL 1533285, at *3 (S.D.N.Y. Apr. 9, 2024)

(quoting Alkholi v. Macklowe, 858 F. App’x 388, 391 (2d Cir. 2021) (summary order))

(emphasis omitted); accord Allied Sheet Metal Works, Inc. v. Kerby Saunders, Inc., 619

N.Y.S.2d 260, 262 (1994). “A term is essential, and must thus appear in the memorandum, if it

seriously affects the rights and obligations of the parties.” Id. (cleaned up). The Statute of

Frauds expressly allows electronic communications to constitute a binding contract. N.Y. Gen.

Oblig. Law § 5-701(b)(3)(a). Furthermore, “the tangible written text produced by . . . [a] process

by which electronic signals are transmitted . . . shall constitute a writing and any symbol

executed or adopted by a party with the present intention to authenticate a writing shall constitute

a signing.” Id. § 5-701(b)(4).

       An affirmative defense, the Statute of Frauds may be raised under Rule 12(b)(6) “only if

the defense appears on the face of the complaint.” Sabilia v. Richmond, No. 11-CV-739, 2012

WL 213656, at *7 (S.D.N.Y. Jan. 24, 2012); see also Pani v. Empire Blue Cross Blue Shield, 152

F.3d 67, 74 (2d Cir.1998). “[D]efendants retain the burden of proof on this issue.” Levy v.

Aaron Faber, Inc., 148 F.R.D. 114, 118 (S.D.N.Y. 1993).

       Plaintiffs respond that the Statute of Frauds does not apply because the pertinent

contracts governed the delivery, not the ongoing use, of their voice recordings. (See Opp. at 39.)

But the provisions of the contracts that Plaintiffs allege Lovo breached are essentially indefinite

restrictions on use, and have nothing to do with delivery. And Plaintiffs do not identify any




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temporal limitation, such as a termination option that might be exercised within one year. Cf.

BPP Wealth, Inc. v. Weiser Cap. Mgmt., LLC, 623 F. App’x 7, 12-13 (2d Cir. 2015) (summary

order). The contracts are therefore barred unless they satisfy the Statute of Frauds. Cf. Meyers v.

Waverly Fabrics, Div. of Schumacher & Co., 65 N.Y.2d 75, 79 (1985).

       However, Lovo has failed to carry its burden of showing that the contracts here violate

the Statute of Frauds. According to the operative complaint, Plaintiffs were contacted “via the

Fiverr website” (AC ¶¶ 45-46, 76, 78), which the Court understands to mean that the relevant

communications with Lovo took the form of online chat messages. (See also id. ¶¶ 49 (“[Lovo]

sent Mr. Lehrman a message”), 76 (“Sage received a message on the Fiverr platform”).) Lovo

argues that these communications are insufficient because they do not “mention all material

terms.” (Mem. at 42.) But they do describe the nature of the recordings that Lovo purchased,

the purchase prices, and Plaintiffs’ requested restrictions on use. (Id. ¶¶ 45-55, 76-81.) That

encompasses “substantially the whole agreement”—the transfer of certain voice recordings for

money, subject to specific restrictions on use—“so that one reading [them] can understand from

it what the agreement is.” Cf. Truman v. Brown, 434 F. Supp. 3d 100, 114 (S.D.N.Y. 2020)

(quoting Kobre v. Instrument Sys. Corp., 387 N.Y.S.2d 617, 618-19 (1st Dep’t 1976)).

       Lovo also argues that the communications are insufficient because they “do not even

allegedly identify all parties.” (Mem. at 42.) The chat messages do identify Lehrman and Sage,

as they were sent from Plaintiffs’ accounts and Lovo does not allege that Plaintiffs used aliases.

As for identifying Lovo, the communications allegedly involved two Lovo representatives—“a

Lovo employee” using the screenname “User25199087” (AC ¶ 45), and “LOVO co-founder,

Tom Lee,” using the screenname “tomlsg” (id. ¶ 82). That Lovo’s agents did not use their real

names is immaterial. The Statute of Frauds allows a party to be bound by a writing signed by its




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“lawful agent,” N.Y. Gen. Oblig. Law § 5-701(a), and allows “any symbol” to constitute a

signature as long as the signing party had a present intent to be bound, id. § 5-701(b)(4); see also

Mizel Roth IRA on behalf of Consol. Asset Funding 3 LP v. Unified Cap. Partners 3 LLC, No.

19-CV-10712, 2022 WL 3359759, at *5 (S.D.N.Y. Aug. 15, 2022) (“When faced with the

question of whether a particular moniker constitutes a valid signature . . . courts emphasize

substance over form, focusing on the intent of the would-be signer.”). 2 No party here disputes
                                                                         1F




the authenticity of the Fiverr messages or that they were sent by Lovo’s agents. And no party

indicated at the time that material terms were missing, or that the parties’ agreements were

subject to later modification. Cf. Maxgain LLC v. Rai, 201 N.Y.S.3d 383, 384 (1st Dep’t 2023).

Invalidating the parties’ contracts because Lovo’s agents did not separately affix their full, legal

names to the messages would be “a needless formality that does not reflect” contemporary

business conventions. Cf. Phila. Ins. Indem. Co. v. Kendall, 151 N.Y.S.3d 392, 396 (1st Dep’t

2021) (holding, in a different context, that “if an attorney hits ‘send’ with the intent of relaying a

settlement offer or acceptance, and their email account is identified in some way as their own,

then it is unnecessary for them to type their own signature”); Go N.Y. Tours, Inc. v. Tour Cent.

Park Inc., 189 N.Y.S.3d 175, 176 (2023) (“The email correspondence is sufficient to embody a

settlement agreement since it was authentic and sets forth all material terms.”); Guice v. PPC



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          The “any symbol” language applicable to general contracts can also be contrasted with
the more specific requirements applicable to contracts for “goods . . . sold at public auction.”
See N.Y. Gen. Oblig. Law § 5-701(a)(6) (requiring that a written memorandum include “the
name of the purchaser[] and the name of the person on whose account the sale was made”). For
auction contracts, “[t]he General Obligations Law states clearly that the memorandum must
include names. It makes no provision for an alternative to a name, including some other mode of
identification designed by an auction house to facilitate the auction process, such as . . . numeric
identifiers.” William J. Jenack Est. Appraisers & Auctioneers, Inc. v. Rabizadeh, 22 N.Y.3d 470,
477 (2013). The fact that the Statute of Frauds expressly requires names for only some types of
contracts reinforces the conclusion that names are not required for the contracts at issue here.


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Residential, LLC, 182 N.Y.S.3d 94, 95 (2023) (same); see also In re O’Connor, 630 B.R. 384,

387-88 (Bankr. W.D.N.Y. 2021) (applying the reasoning from Philadelphia to the Statute of

Frauds). 3 Accordingly, because Lovo’s messages were sent from accounts that are identified
        2F




with persons we now know to be agents of Lovo, Lovo is bound by those messages.

       Moreover, even if the Fiverr messages alone were insufficient, “[t]he Statute of Frauds

may be satisfied by separate connected writings, not all of which must be signed.” Strain v.

Strain, 644 N.Y.S.2d 317, 318 (2d Dep’t 1996); accord Parlux Fragrances, LLC v. S. Carter

Enters., LLC, 164 N.Y.S.3d 108, 121 (1st Dep’t 2022); Del Toro, 2024 WL 1533285, at *3.

While an iterative series of “motley communications,” standing alone, may not constitute an

“integrated agreement bearing definite terms,” cf. Truman, 434 F. Supp. 3d at 114, here the

parties also agreed to Fiverr’s “Terms of Service” in order to use the platform (see Mem. at 42-

43; Opp. at 42; see also ECF No. 29-4 (“2019 TOS”); ECF No. 29-5 (“2020 TOS”)). 4 Those
                                                                                      3F




contracts supply further detail about the parties’ dealings on Fiverr, and plausibly supplement

any material terms missing from the Fiverr chats. To the extent that the parties identified

themselves more fully in agreeing to the Terms and Conditions, the Terms and Conditions may

also supplement the lack of identifying information in the parties’ Fiverr chats.


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         Although it appears that neither the First Department nor any other New York appellate
court has extended Philadelphia to the Statute-of-Frauds context, the Court can discern no reason
why the result should differ. Both N.Y. C.P.L.R. § 2104 and N.Y. Gen. Oblig. Law § 5-701
require a writing that identifies all material terms and is subscribed. The First Department’s
reasoning in allowing unsigned emails under § 2104 applies equally to § 5-701, absent contrary
authority from the New York Court of Appeals or the Second Circuit.
       4
          It would be odd for Lovo to argue now that the parties are not bound by the Fiverr
Terms of Service, as those terms provide the only plausible basis for Lovo’s rights to use
Plaintiffs’ voice recordings as they did. If Lovo were correct that neither the Fiverr messages
nor Fiverr’s Terms of Service were binding, then Lovo would essentially have stolen Plaintiffs’
recordings outright. In any event, Lovo does invoke its rights under Fiverr’s Terms of Service in
its memorandum of law, and has therefore waived its right to object to those writings under the
Statute of Frauds. See N.Y. Gen. Oblig. Law § 5-701(b)(3)(c).


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       In sum, Plaintiffs have plausibly identified a series of written communications subscribed

to by the relevant parties and identifying the material terms of their transactions with Lovo.

Whether these documents are ultimately sufficient to satisfy the Statute of Frauds is a fact

question not resolvable on a motion to dismiss. Cf. Strain, 644 N.Y.S.2d at 318 (denying

summary judgment). Lovo’s motion is therefore denied as to Plaintiffs’ contract claims.

       B.      Lanham Act

       Plaintiffs next assert claims for “Unfair Competition and False Affiliation,” and for

“False Advertising,” pursuant to Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). (AC

¶¶ 231-51.) Section 43(a) “creates two distinct bases of liability: false association,

§ 1125(a)(1)(A), and false advertising, § 1125(a)(1)(B).” Lexmark Int’l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 122 (2014); see also Res. Devs., Inc. v. Statue of Liberty-Ellis

Island Found., Inc., 926 F.2d 134, 139 (2d Cir. 1991) (characterizing the former as “product

infringement” and the latter as “false advertising”); 4 McCarthy on Trademarks and Unfair

Competition § 27:9 (5th ed. 2025) (hereinafter 4 McCarthy) (describing § 43(a) as “the foremost

federal vehicle for the assertion of two major and distinct types of ‘unfair competition’: (1)

infringement of even unregistered marks, names and trade dress, and (2) ‘false advertising.’”). 5 4F




“The claims are distinct and require and require separate consideration.” Twentieth Century Fox

Film Corp. v. Marvel Enters., Inc., 277 F.3d 253, 259 (2d Cir. 2002); accord 4 McCarthy

§ 27:9.50 (“A plaintiff cannot disguise a § 43(a)(1)(a) trademark infringement claim as a false




       5
          To the extent that Plaintiffs intend to assert “unfair competition” in a more general
sense, they cannot. Section 43(a)(1)(A) “does not have boundless application as a remedy for
unfair trade practices” and is not “a federal codification of the overall law of unfair competition.”
Dastar, 539 U.S. at 29 (quotation marks omitted).


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advertising § 43(a)(1)(b) claim,” because “[t]he two claims are separate and distinct and have

different elements needed to assert a prima facie case.”).

                  1.    Unfair Competition and False Affiliation

        Plaintiffs’ so-labeled “unfair competition and false affiliation” claims fall into the first

bucket—false association—and the Court construes them as brought pursuant to Section

43(a)(1)(A). 6 “To succeed on a section 43(a)(1)(A) claim, a plaintiff must prove (1) that the
             5F




mark or dress is distinctive as to the source of the good or service at issue, and (2) that there is

the likelihood of confusion between the plaintiff’s good or service and that of the defendant.”

ITC Ltd. v. Punchgini, Inc., 482 F.3d 135, 154 (2d Cir. 2007). This cause of action is broad and

has been interpreted to cover conduct including infringement of an unregistered mark, trade dress

infringement, passing off, reverse passing off, and false designation of geographic origin—“all

of which simply describe different methods of trademark infringement.” Red Rock Sourcing

LLC v. JGX LLC, No. 21-CV-1054, 2024 WL 1243325, at *22 n.10 (S.D.N.Y. Mar. 22, 2024).

        The parties primarily dispute whether Plaintiffs have identified a protectable mark.

(Mem. at 31-32; Opp. at 26-27.) At the outset, the Court observes that “mark” in this context

means, as it must, something more than an ordinary trademark. While it is settled precedent that

a Section 43(a)(1)(A) claim requires “wrongful use of another’s distinctive mark or other

device,” Telecom Int’l Am., Ltd. v. AT & T Corp., 280 F.3d 175, 196-97 (2d Cir. 2001),

overruled in part on other grounds by Lexmark, 572 U.S. at 118, 7 courts in this Circuit and
                                                                      6F




        6
         4 McCarthy § 27:9.50 (explaining that “false association,” “unfair competition,” and
“unregistered trademark infringement” claims under Section 43(a)(1)(a) are all the same).
        7
         See also ITC Ltd. v. Punchgini, Inc., 482 F.3d 135, 154 (2d Cir. 2007) (“To succeed on
a section 43(a)(1)(A) claim, a plaintiff must prove . . . that the mark or dress is distinctive . . . .”);
Cardinal Motors, Inc. v. H&H Sports Prot. USA Inc., 128 F.4th 112, 121 (2d Cir. 2025) (same);
Virgin Enters. Ltd. v. Nawab, 335 F.3d 141, 146 (2d Cir. 2003) (requiring, for infringement
claims, a “mark [that] is entitled to protection”); 1-800 Contacts, Inc. v. WhenU.Com, Inc., 414


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F.3d 400, 406-07 (2d Cir. 2005) (“In order to prevail on a trademark infringement claim
for . . . unregistered trademarks, pursuant to 15 U.S.C. § 1125(a)(1), a plaintiff must establish
that . . . it has a valid mark that is entitled to protection.”); Electra v. 59 Murray Enters., Inc.,
987 F.3d 233, 257 (2d Cir. 2021) (approving of the distinctive-mark requirement in the context
of a false endorsement claim under Section 43(a)(1)(A)); Gibson v. SCE Grp., Inc., No. 22-916,
2023 WL 4229913, at *2 (2d Cir. June 28, 2023) (summary order) (approving of the ITC and
Electra definitions of false association and explaining that “[t]o the extent that this approach to
the false endorsement claim diverges from our caselaw involving false advertising, that result is
consistent with the fact that the two types of claims are distinct”).
        One possible gray area for this requirement concerns so-called “reverse passing off” or
“reverse palming off” cases, which can arise “when ‘A sells B’s product under A’s name.’”
Societe Des Hotels Meridien v. LaSalle Hotel Operating P’ship, L.P., 380 F.3d 126, 131 (2d Cir.
2004) (quoting Waldman Publ’g Corp. v. Landoll, Inc., 43 F.3d 775, 780 (2d Cir. 1994)).
According to the most recent binding case in the Second Circuit, “a reverse palming off claim
requires allegations: ‘(1) that the product at issue originated with the plaintiff; (2) that the origin
of the product was falsely designated by the defendant; (3) that the false designation of origin
was likely to cause consumer confusion; and (4) that the plaintiff was harmed by the defendant’s
false designation of origin.’” Id. (quoting Softel, Inc. v. Dragon Med. & Sci. Commc’ns, 118
F.3d 955, 970 (2d Cir. 1997)) (brackets omitted). Read literally, nothing in this list of elements
requires the existence of a trademark, trade dress, or other device. The court in Societe Des
Hotels also held that the plaintiff “was not required to plead ‘secondary meaning’.” Id. at 131.
        Societe Des Hotels was, however, decided shortly after the Supreme Court sharply
curtailed the scope of reverse passing off cases in Dastar Corp. v. Twentieth Century Fox Film
Corp., 539 U.S. 23, 27-28 & n.1 (2003), and does not refer to Dastar at all. Although nominally
about the definition of “origin” in Section 43(a), Dastar effectively limited the ability to bring
“reverse passing off” cases that would not otherwise be cognizable as unregistered infringement
cases. Id. at 36-37; see also Bretford Mfg., Inc. v. Smith Sys. Mfg. Corp., 419 F.3d 576, 580 (7th
Cir. 2005) (“Dastar added that the injury must be a trademark loss—which is to say, it must
come from a misrepresentation of the goods’ origin.”).
        Not only does Societe Des Hotels fail to mention Dastar, but it also relies primarily on
older cases that imposed reverse passing off liability in violation of the rule established in
Dastar. See, e.g., Softel, 118 F.3d at 955. And, notably, Societe Des Hotels has never again
been cited by the Second Circuit in the context of Section 43(a)(1)(A), but only Section
43(a)(1)(B) (false advertising). Thus, at least some commentators have suggested that the
statements of law in Societe Des Hotels concerning Section 43(a)(1)(A) are “no longer good
law.” See 4 Callmann on Unfair Comp., Tr. & Mono. § 22:33 (4th ed. 2024); cf. Portkey Techs.
Pte Ltd. v. Venkateswaran, No. 23-CV-5074, 2024 WL 3487735, at *10 (S.D.N.Y. July 19,
2024) (declining to impose liability based on alleged “reverse passing off” of intellectual
property). Alternatively, some lower courts have interpreted Societe Des Hotels narrowly,
applying it only to situations where a defendant states a “direct falsity,” and have found that
indirect-falsity cases “sound in copyright and must be resolved according to that statute.” See,
e.g., Park v. Skidmore, Owings & Merrill LLP, No. 17-CV-4473, 2019 WL 9228987, at *10
(S.D.N.Y. Sept. 30, 2019).


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others have long approved of claims involving mark-like devices such as a celebrity’s “image,”

“likeness,” “persona,” or “identity.” Bruce Lee Enters., LLC v. A.V.E.L.A., Inc., No. 10-CV-

2333, 2011 WL 1327137, at *4 (S.D.N.Y. Mar. 31, 2011) (quoting ETW Corp. v. Jierh Pub.,

Inc., 332 F.3d 915, 925 (6th Cir. 2003) and White v. Samsung Elecs. Am., Inc., 971 F.2d 1395,

1400 (9th Cir. 1992)). The question here is whether a voice, in this context, is sufficiently like

these devices to merit protection.

       The Court begins with what can be loosely categorized as celebrity endorsement cases.

Such cases prototypically take one of two forms. First, they may involve the unauthorized use of

a celebrity’s likeness on merchandise, implying that the celebrity approves of the merchandise or

is affiliated with the seller. See, e.g., Bruce Lee Enters. 2011 WL 1327137 at *5 (use of Bruce

Lee’s image on t-shirts); A.V.E.L.A., Inc. v. Est. of Marilyn Monroe, LLC, 131 F. Supp. 3d 196,

205 (S.D.N.Y. 2015) (use of Marilyn Monroe’s image on apparel and glassware); Jackson v.

Odenat, 9 F. Supp. 3d 342, 349 (S.D.N.Y. 2014) (use of Curtiss Jackson’s (a.k.a. “50 Cent’s”)

image on the masthead of a website). Second, they may involve the explicit use of a celebrity’s

likeness in advertising or to promote goods or services. See, e.g., Allen v. Nat’l Video, Inc., 610

F. Supp. 612, 618 (S.D.N.Y. 1985) (use of a Woody Allen lookalike in advertisements); Bondar

v. LASplash Cosms., No. 12-CV-1417, 2012 WL 6150859, at *2 (S.D.N.Y. Dec. 11, 2012) (use

of a famous model’s image in advertisements); Kuhn v. Corbis Corp., No. 10-CV-9127, 2012

WL 13388758, at *3 (S.D.N.Y. Jan. 17, 2012) (same). 8 Some plaintiffs have prevailed even
                                                        7F




       In any event, whether there exist exceptions to the requirement that Section 43(a)(1)(A)
claims concern a valid mark, Plaintiffs do not argue that such an exception applies here.
       8
         Although they involve advertising, these cases are distinct from “false advertising”
cases, which require that the advertisement “misrepresents the nature, characteristics, qualities,
or geographic origin of” goods or services, 15 U.S.C. § 1125(a)(1)(B), rather than merely
causing confusing as to “sponsorship” or “approval,” id. § 1125(a)(1)(A).


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when they are not “celebrities” in the traditional sense. See, e.g., Albert Furst von Thurn und

Taxis v. Karl Prince von Thurn und Taxis, No. 04-CV-6107, 2006 WL 2289847, at *3, 11

(S.D.N.Y. Aug. 8, 2006) (use of a European royal family’s name by a “distant cousin” to

promote his business activities). It is also true that, at least in other circuits, such claims have

successfully been based on the unauthorized use of voice recordings, not just images. See, e.g.,

Facenda v. N.F.L. Films, Inc., 542 F.3d 1007, 1012 (3d Cir. 2008) (use of altered recordings of a

famous sports broadcaster in a documentary about the making of a football video game).

        Some courts have observed that “the true gravamen of [such a] claim is infringement on

their right of publicity,” but have nonetheless concluded that “that observation has no legal

traction” because “[t]he cause of action for false endorsement under the Lanham Act is well-

accepted in this and other circuits.” Mayes v. Summit Ent. Corp., No. 16-CV-06533, 2018 WL

566314, at *2 (E.D.N.Y. Jan. 18, 2018) (Tiscione, Mag. J.), report and recommendation adopted

in relevant part, 287 F. Supp. 3d 200 (E.D.N.Y. 2018). And the Second Circuit recently

approved of celebrity endorsement claims in Electra v. 59 Murray Enters., Inc., 987 F.3d 233,

258 (2d Cir. 2021), and Souza v. Exotic Island Enters., Inc., 68 F.4th 99, 117 (2d Cir. 2023),

though in both cases the court affirmed dismissal of the claims for failure to show a likelihood of

confusion.

        From these cases, the general principle emerges that there can exist a “trademark-like

interest in [one’s] image, likeness, persona, and identity.” Jackson, 9 F. Supp. 3d at 355. Given

this, the Court can discern no basis for categorically excluding voices, as opposed to images,

from such protection. The Lanham Act does not limit celebrity endorsement claims to those

based on “images” or “pictures.” Rather, the relevant statutory language is “name, symbol, or

device,” which “courts broadly interpret . . . to include other indicia of identity, such as a




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person’s voice.” Facenda, 542 F.3d at 1014. Lovo states in conclusory fashion that “a voice

alone is not something [that] can be protected under the Lanham Act,” that “there is nothing to

protect,” and that there is “nothing which may have been used without consent and which could

create any confusion.” (Mem. at 32.) But Plaintiffs have at least plausibly alleged that voices

can sometimes serve a role similar to that of a persona or likeness. And Lovo offers no reason to

disbelieve the long-recognized reality that “[t]he human voice is one of the most palpable ways

identity is manifested.” See Midler v. Ford Motor Co., 849 F.2d 460, 463 (9th Cir. 1988).

       Lovo next argues that Plaintiffs’ voices cannot be protected because “Plaintiffs are not

celebrities.” (Reply at 13.) But Section 43(a)(1)(A) “does not require celebrity, only a

likelihood of consumer confusion.” Bondar, 2012 WL 6150859 at *7. While it is true that “the

misappropriation of a completely anonymous face could not form the basis for a false

endorsement claim, because consumers would not infer that an unknown [individual] was

‘endorsing’ a product,” Plaintiffs have at least alleged that they are more than “completely

anonymous” or “unknown” here. Id. Rather, they have pleaded that they are well-known and

sought-after voice actors whose voices are their recognizable calling cards. At least at this stage,

that suffices to plausibly establish “a level of consumer recognition short of celebrity—as the

term is usually understood—capable of causing consumer confusion.” Id. (emphasis added).

       The more pertinent question than the two above is whether “what [each Plaintiff] seeks to

protect from imitation—[his or] her voice—functions as a trademark or trade name entitling it to

protection.” Booth v. Colgate-Palmolive Co., 362 F. Supp. 343, 348 (S.D.N.Y. 1973). 9 The8F




Lanham Act defines a mark as “any word, name, symbol, or device” that one uses “to identify



       9
        Admittedly, Lovo does not develop this point, though Lovo does cite and rely on cases
in which use as a mark was a central concern, like Booth.


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and distinguish,” or “indicate the source of,” one’s goods or services. 15 U.S.C. § 1127. 10 “The
                                                                                             9F




first part of that definition, identifying the kind of things covered, is broad,” but is cabined by the

second part, which “describes every [mark’s] ‘primary’ function: ‘to identify . . . origin or

ownership’.” Jack Daniel’s Props., Inc. v. VIP Prods. LLC, 599 U.S. 140, 146 (2023). This

“source-identifying” function of marks ensures that “trademark rights ‘play well with the First

Amendment’,” id. at 159 (quoting Mattel, Inc. v. MCA Recs., Inc., 296 F.3d 894 (9th Cir. 2002)),

and helps ensure that trademark law does not accidentally mutate into “a species of perpetual

patent and copyright,” Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23, 37

(2003). “The principal purpose of federal trademark law is to ‘secure the public’s interest in

protection against deceit as to the sources of its purchases, and the businessman’s right to enjoy

business earned through investment in the good will and reputation attached to a trade name.’”

Christian Louboutin S.A. v. Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 215 (2d Cir.

2012) (quoting Fabrication Enters., Inc. v. Hygenic Corp., 64 F.3d 53, 57 (2d Cir.1995)).

“[T]rademark law is not intended to ‘protect innovation by giving the innovator a monopoly’

over a useful product feature.” Id. (quoting Fabrication Enters., 64 F.3d at 59 n.4). Because

marks can take essentially any form, courts must therefore be careful to ensure that they receive

protection only when used as contemplated by the statute—that is, as marks.

       The celebrity endorsement cases sit uneasily with this distinction between source-

identifying marks and the products they identify, as celebrities’ personas are also their products.

A celebrity is, in a sense, one who has monetized his or her own identity. See White v. Samsung

Elecs. Am., Inc., 971 F.2d 1395, 1399 (9th Cir. 1992) (discussing, in the context of publicity


       10
         Precisely speaking, the Act defines “trademark” and “service mark,” along with two
more specialized forms of marks, and then defines “mark” as any of those four subtypes. See 15
U.S.C. § 1127.


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rights, “celebrity identity value” as something that one can “exploit . . . for profit,” and which

“[t]he law protects”). And that identity, along with the names and likenesses that signify it, are

what the celebrity endorsement cases protect. In this sense, one might understand those cases as

representing an exception to the general rule that a mark’s “primary significance . . . is to identify

the source of the product rather than the product itself.” Cf. Christian Louboutin, 696 F.3d at

226 (quoting Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 851 n. 11 (1982)) (emphasis

added). “Marks rooted in something distinct from oneself are quite different from those in which

the signifying mark and the signified object merge, as is the case when what is signified is a

particular person, rather than some external and distinct object or company.” Jennifer E.

Rothman, Navigating the Identity Thicket: Trademark’s Lost Theory of Personality, the Right of

Publicity, and Preemption, 135 Harv. L. Rev. 1271, 1298 (2022); cf. Duraco Prods., Inc. v. Joy

Plastic Enters., Ltd., 40 F.3d 1431, 1434 (3d Cir. 1994) (“[A] product configuration differs

fundamentally from a product’s trademark, insofar as it is not a symbol according to which one

can relate the signifier (the trademark, or perhaps the packaging) to the signified (the product).”).

       Given their distinct nature, these personal marks are treated differently from other marks

in various ways. For one, personal marks generally cannot be registered, and the law is highly

skeptical of efforts to restrict individuals from using their own identities in trade. See Peaceable

Planet, Inc. v. Ty, Inc., 362 F.3d 986, 989 (7th Cir. 2004); see also 815 Tonawanda Street Corp.

v. Fay’s Drug Co., Inc., 842 F.2d 643, 649 (2d Cir. 1988) (noting “the common law’s general

solicitude of and willingness to protect the individual’s right to use his own name in business”).

The law also imposes some limits on the ability to transfer attributes of one’s identity—such as

personal skill as an artisan—when one transfers trademark rights in one’s name or likeness. See

2 McCarthy on Trademarks and Unfair Competition § 18:35 (5th ed.) (hereinafter 2 McCarthy).




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And, as relevant here, Section 43(a)(1)(A) protects those who use their identities as marks from

the unauthorized appropriation by competitors. While such specialized rules do serve the

ordinary trademark purposes of preventing consumer confusion and protecting merchants’ right

to profit from their goodwill and reputations, they are also bound up in a set of unique

“autonomy and dignity interests of the individuals whose personalities are intertwined with such

marks,” and “implicate fundamental rights” in a way that ordinary trademarks do not. See

Rothman, supra, at 1273, 1276.

       Unlike the celebrity endorsement cases, though, Plaintiffs here use their voices in ways

that are clearly separable from their identities and personalities. Their clients pay them to

produce recordings of themselves narrating scripts, which the clients then own and use to

produce content, as authorized by their contracts with Plaintiffs. (See AC ¶¶ 17-18.) As

professional voice actors, Plaintiffs are not paid only for their “fame,” cf. White, 971 F.2d at

1399, but also “a negotiated and agreed-upon price for their professional services” (AC ¶ 20),

based at least in part on concrete vocal attributes like “tone, quality, timbre, and delivery” (id.

¶ 103). Plaintiffs’ putative marks—their voices—therefore serve dual functions as both “one of

the most palpable ways identity is manifested,” cf. Midler, 849 F.2d at 463, and as ordinary

services in the voice-over market. As one of Plaintiffs’ own declarants put it, the involuntary use

of an actor’s voice “waters down the actor’s product” by “mak[ing] the voice ubiquitous.” ((See

ECF No. 22-1 at 6, ¶ 11 (emphasis added).) The Court is therefore hesitant to apply the

exceptional logic of the celebrity endorsement cases here, even if false endorsement or “business

affiliation” is one of the forms of confusion that Plaintiffs allege. (Cf. AC ¶¶ 237(a)-(b).)

Rather, Plaintiffs voices are protectable only to the extent that they function primarily as source

identifiers rather than as products themselves.




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       In this sense, Plaintiff’s claims more closely resemble run-of-the-mill claims for “trade

dress” infringement, where the protectable “mark” is “essentially a product’s total image and

overall appearance.” See Knitwaves, 71 F.3d at 1005. 11 Those cases are difficult because
                                                       10F




trademark terminology “is unsuited for application to the product itself.” Id. at 1007-08 (quoting

Duraco Prods., 40 F.3d at 1440-41). Accordingly, plaintiffs in such cases must articulate “a

precise expression of the character and scope of the claimed trade dress” to receive protection.

Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101, 117 (2d Cir. 2001) (quoting Landscape Forms,

Inc. v. Columbia Cascade Co., 113 F.3d 373, 381 (2d Cir. 1997)). In all trade dress cases,

plaintiffs must show that their claimed mark “meet[s] the first requirement of an action under

§ 43(a) of the Lanham Act—that [it] be used as a mark to identify or distinguish the source.”

Knitwaves, 71 F.3d at 1006. Where product design is at issue, courts exercise “particular

caution” given the fact that “‘almost invariably, even the most unusual of product designs such

as a cocktail shaker shaped like a penguin[ ]is intended not to identify the source’ of the product,

‘but to render the product itself more useful or more appealing.’” Yurman Design, 262 F.3d at

114-15 (quoting Samara Bros., 529 U.S. at 213). Thus, a plaintiff can obtain trade dress

protection for a design only by demonstrating secondary, or acquired, meaning. Samara Bros.,

529 U.S. at 216.




       11
          Knitwaves involved product design and was based on an interpretation of the Supreme
Court’s ruling in Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763 (1992), that trade dress
protection may be based on “inherent distinctiveness.” The Supreme Court in Samara Bros., 529
U.S. at 215, then held that product design trade dress always requires secondary meaning to
qualify for Section 43(a) protection, abrogating that aspect of Knitwaves’s holding. The
underlying logic of Knitwaves—that at a minimum, trade dress protection requires that a mark’s
primary function be source-identifying—still applies, and is arguably bolstered rather than
undermined by the subsequent decision in Samara Bros.


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       Whichever approach is applied, Plaintiffs have failed to show that their voices, as used in

this context, are protectable under Section 43(a)(1)(A). Plaintiffs have not explicitly pleaded

secondary meaning, nor the factors typically considered in establishing it. Cf. Bristol-Myers

Squibb Co. v. McNeil-P.P.C., Inc., 973 F.2d 1033, 1041 (2d Cir. 1992) (listing factors such as

“advertising expenditures, consumer studies, sales success, unsolicited media coverage, attempts

to plagiarize and length and exclusivity of use”). And beyond a few conclusory references to the

recognizability of their voices (see AC ¶¶ 20, 189, 204) and the fact that “Plaintiffs’ work has

been sought out by large companies” (id. ¶ 40), Plaintiffs have not alleged that their voices are

primarily significant as brands rather than as services to which brands might be attached.

       To be clear, Plaintiffs are not out of luck here because they are not famous enough. To

the contrary, even extremely famous celebrities are barred from asserting Section 43(a)(1) claims

based on the use of their likenesses as products rather than as source-identifying marks. Take,

for example, Pirone v. MacMillan, Inc., a Second Circuit case involving the name and likeness

of Babe Ruth, “one of the greatest baseball players of all time,” who the court acknowledged

“hardly need[ed] an introduction.” 894 F.2d 579, 580 (2d Cir. 1990). After Ruth’s death,

MacMillan published a commemorative baseball-themed calendar including three photos of

Ruth. Id. at 581. Ruth’s daughters, meanwhile, had registered Ruth’s name as a trademark for

“paper articles, namely, playing cards, writing paper and envelopes,” and sued MacMillan for

both infringement of the registered mark in Ruth’s name, and for infringement of an unregistered

mark in his likeness pursuant to Section 43(a). 12 Id. The court rejected both claims. First, the
                                               11F




court explained that the registered trademark of Ruth’s name did not confer rights in all images



       12
          The case was brought before Congress split 43(a)(1) into subparts (A) and (B), but
clearly sounded in false endorsement, not false advertising. See Pirone, 894 F.2d at 584.


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ever taken of Ruth. Id. at 583. “[A] photograph of a human being, unlike a portrait of a fanciful

cartoon character, is not inherently ‘distinctive’ in the trademark sense of tending to indicate

origin,” and even if the plaintiff could establish acquired distinctiveness in some circumstances,

it could not be “said that every photograph of Ruth serves this origin-indicating function.” Id.

Second, the court reasoned that “[w]hatever rights [the plaintiff] may have in the mark ‘Babe

Ruth,’ MacMillan’s use of Ruth’s name and photographs can infringe those rights only if that use

was a ‘trademark use,’ that is, one indicating source or origin.” Id. But the images of Ruth were

used “in the primary sense—to identify a great baseball player,” rather than as “identifying the

business of selling those products.” Id. at 584. “While the secondary use may be protected, the

use of these words in their primary, descriptive sense may not be.” Id. Finally, with respect to

the plaintiff’s Section 43(a) claim specifically, the court applied similar reasoning: “While these

pictures of Ruth are in a sense symbols, they in no way indicate origin or represent sponsorship.”

Id. Rather, “the photographs . . . indicate the contents of the calendar, not its source.” Id. 13 The
                                                                                             12F




fact that Ruth’s likeness was universally recognizable was irrelevant.

       In Pirone, the Second Circuit approvingly cited Estate of Presley v. Russen, 513 F. Supp

1339 (D.N.J. 1981), which involved Elvis Presley, another celebrity who needs no introduction.

There, as in Pirone, the court rejected the Presley Estate’s attempt to assert common-law

trademark claims based on the singer’s “likeness and image.” Id. at 1363-64. The court instead

found that the Estate had established only that “a picture or illustration of Elvis Presley dressed

in one of his characteristic jumpsuits and holding a microphone in a singing pose is likely to be

found to function as a service mark.” Id. at 1364. This “Elvis Pose” mark had “acquired



       13
          The Court then explained that there was no likelihood of confusion. Pirone, 594 F.2d
at 584-85.


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secondary meaning through its use in advertising and promoting” and was therefore, unlike

Elvis’s general image and likeness, distinct from his “entertainment services.” Id. at 1365.

       “The distinction drawn by the Second Circuit in Pirone is between situations where the

words are used to identify a business or in their ‘primary, descriptive sense.’” A.V.E.L.A., Inc. v.

Est. of Marilyn Monroe, LLC, 364 F. Supp. 3d 291, 315 (S.D.N.Y. 2019). That distinction

applies here as well: Plaintiffs’ voices may be protectable to the extent that they are being used

primarily to identify the source of particular sound recordings, but are not protectable to the

extent that they primarily function as content in those sound recordings (like Ruth’s photo was

content in the calendar, rather than a brand identifier). Whether Plaintiffs’ voices are also

recognizable is immaterial.

       Plaintiffs might object that their voices, as indicia of identity, merit trademark protection

even if they function primarily as services. But that logic conflicts with trademark law’s

typically restrictive approach to the protection of other indicia of identity, such as names. See 2

McCarthy § 13:1. To understand the rationale for this restrictive approach, consider a

hypothetical: A new voice actor enters the industry whose voice happens to sound highly similar

to either Lehrman’s or Sage’s. Under Plaintiffs’ theory, it is difficult to imagine why they could

not bring a Section 43(a)(1)(A) claim against the new actor. The Lanham Act contains no

knowledge or intent requirement. See Spin Master Ltd. v. Alan Yuan’s Store, 325 F. Supp. 3d

413, 421 (S.D.N.Y. 2018) (citing Sunward Elec., Inc. v. McDonald, 362 F.3d 17, 25 (2d Cir.

2004)). And while Lovo’s synthetic clones are allegedly indistinguishable from Plaintiffs’ real

voices, such one-to-one mimicry is not required to establish a likelihood of confusion. Cf.

Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir. 1961) (treating “similarity

between the two marks” as only one of eight relevant factors).




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       Moreover, unregistered trademark rights, even in a name or likeness, can be assigned. 2

McCarthy, § 18:32. This could have unsettling consequences. For example, in one recent case,

the Cousteau Society successfully asserted Section 43(a)(1)(A) claims against Jacques

Cousteau’s granddaughter to prevent her from using, among other purported marks, her

grandfather’s name and likeness in her own business, as Cousteau had assigned all of his

intellectual property rights to the Society prior to his death. See The Cousteau Soc’y, Inc. v.

Cousteau, 498 F. Supp. 3d 287, 298, 312 (D. Conn. 2020). In another case, a district court

ordered a social-media influencer to turn over control of her social media accounts to a company

to which she had previously sold trademark rights in her name. JLM Couture, Inc. v. Gutman,

No. 20-CV-10575, 2021 WL 827749, at *1 (S.D.N.Y. Mar. 4, 2021). While that case involved

registered trademarks and was partly vacated on appeal, see JLM Couture, Inc. v. Gutman, 24

F.4th 785, 799 (2d Cir. 2022), it illustrates the risks associated with granting entities exclusive,

perpetual, and transferable rights in identity attributes. While such rights are appropriate in some

circumstances, they must be carefully limited.

       To allow any artist, actor, or other creative tradesperson to sue their doppelgangers for

trademark infringement, as Plaintiffs’ theory would allow, would “create[e] a cause of action for,

in effect, plagiarism,” and would be incompatible with the careful ways that courts have

circumscribed the Lanham Act to avoid unduly burdening competition and free expression.

Dastar, 539 U.S. at 36. In the celebrity cases, courts have sometimes allowed suits to proceed

against lookalikes or their employers. See, e.g., Allen, 610 F. Supp. at 618. But the crux of such

cases is that the defendants are appropriating the identity and the goodwill of the famous

plaintiffs—that is, pretending to be Woody Allen—rather than merely engaging in the same trade

while happening to look like the famous plaintiffs. The celebrity cases are also limited in that




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they protect only identities themselves from appropriation, not ordinary goods or services. In

cases like Allen, the burdens on competition and free expression are minimal, while the benefits

from preventing confusion are substantial. Here, the risks and benefits are flipped. To allow

Plaintiffs to protect the downstream uses of their voices merely because Plaintiffs originated

them would disrupt the “carefully crafted bargain” struck by patent and copyright law and

“misuse” the Lanham Act to “to reward [artisans] for their innovating in creating a particular

[work or] device.” Cf. Dastar, 539 U.S. at 33-34.

        Because Plaintiffs have failed to identify a protectable mark, the Court need not consider

whether Plaintiffs have pleaded a likelihood of confusion. Lovo’s motion to dismiss is thus

granted as to Plaintiffs’ claims under Section 43(a)(1)(A).

                2.      False Advertising

        Plaintiffs also bring false advertising claims under Section 43(a)(1)(B) of the Lanham

Act, which prohibits any person from, “in commercial advertising or promotion,

misrepresent[ing] the nature, characteristics, qualities, or geographic origin of his or her or

another person’s goods, services, or commercial activities.” 15 U.S.C. 1125(a)(1)(B). “To state

a false advertising claim under Section 43(a), a plaintiff must . . . plausibly allege the falsity of

the challenged statement[,] . . . materiality, i.e., that the false or misleading representation

involved an inherent or material quality of the product[,] . . . that the defendant placed the false

or misleading statement in interstate commerce, and that the plaintiff has been injured as a result

of the misrepresentation, either by direct diversion of sales or by a lessening of goodwill

associated with its products.” Int’l Code Council, Inc. v. UpCodes Inc., 43 F.4th 46, 56 (2d Cir.

2022) (quotation marks omitted). Falsity “may be based on at least one of two theories: ‘that the

challenged advertisement is literally false, i.e., false on its face,’ or ‘that the advertisement, while

not literally false, is nevertheless likely to mislead or confuse consumers.’” Tiffany (NJ) Inc. v.


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eBay Inc., 600 F.3d 93, 112 (2d Cir. 2010) (quoting Time Warner Cable, Inc. v. DIRECTV, Inc.,

497 F.3d 144, 153 (2d Cir. 2007)). “When an advertisement is shown to be literally or facially

false, consumer deception is presumed,” but “ a district court must rely on extrinsic evidence [of

consumer deception or confusion] to support a finding of an implicitly false message.” Time

Warner Cable, 497 F.3d at 153 (cleaned up). Unlike Plaintiffs’ false association claims, false

advertising claims do not require Plaintiffs to plead the existence of, or their right to assert, a

valid mark. 4 McCarthy §§ 27:24 (listing the elements of a § 43(a)(1)(B) claim), 27:50 (“Some

plaintiffs have attempted to either avoid or embellish a § 43(a)(1)(A) trademark infringement and

unfair competition allegation by asserting the same facts as a claim of false advertising under

§ 43(a)(1)(B). This is attempted to avoid having to prove the validity of a trademark.”).

        Plaintiffs articulate two bases for falsity here. First, Plaintiffs argue that Lovo marketed

their voices under the names “Kyle Snow” and “Sally Coleman,” which they allege is literally

false. (Opp. at 33.) Second, Plaintiffs point to a list of statements made on Lovo’s website and

on YouTube (id.) that allegedly suggest the existence of a business relationship between

Plaintiffs and Lovo (AC ¶ 246).

        Regarding Lovo’s marketing of the Snow and Coleman artificial voices, Plaintiffs have

not adequately pleaded falsity. To the contrary, Plaintiffs point to numerous examples of Lovo

marketing the voices as what they truly are—synthetic “clones” of real actors’ voices. (See, e.g.,

id. ¶¶ 23-24, 26, 28, 90-93, 95, 150-51, 178 & n.33.) Plaintiffs do not allege that Lovo claimed

to be selling Plaintiffs’ actual voices. Plaintiffs do allege that Lovo falsely stated that the cloned

voices “came with all commercial rights.” (Id. ¶ 227.) But even if Plaintiffs are correct Lovo




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lacked the “commercial rights” that it promised to sell, 14 such misrepresentations do not concern
                                                          13F




“the nature, characteristics, qualities, or geographic origin” of Plaintiffs’ cloned voices. See

Agence France Presse v. Morel, 769 F. Supp. 2d 295, 308 (S.D.N.Y. 2011) (quoting 15 U.S.C.

§ 1125(a)(1)(B)). Courts in this Circuit and others have held, following the underlying logic of

Dastar, 539 U.S. at 32-38, that the language of Section 43(a)(1)(B) excludes claims based on “a

false assertion of license” along with “a false claim of authorship.” Agence France Presse 769

F. Supp. 2d at 307-8; see also Invista S.a.r.l. v. E.I. Du Pont De Nemours & Co., No. 08-CV-

7270, 2008 WL 4865208, at *3 (S.D.N.Y. Nov. 3, 2008) (rejecting claim that

“misrepresentations of [the defendant’s] freedom to use the [plaintiff’s] technology constitute

false advertising”); Patterson v. Diggs, No. 18-CV-3142, 2019 WL 3996493, at *7 (S.D.N.Y.

Aug. 23, 2019) (holding that “representations giving the clear but false impression that Plaintiff

licensed or otherwise authorized Defendants to reproduce, display, sell, and distribute Plaintiff’s

work” did not constitute Lanham Act false advertising (cleaned up)); Sybersound Recs., Inc. v.

UAV Corp., 517 F.3d 1137, 1144 (9th Cir. 2008) (rejecting the argument that “the licensing

status of each work is part of the nature, characteristics, or qualities of the . . . products”). But

see Trackman, Inc. v. GSP Golf AB, No. 23-CV-598, 2024 WL 4276497, at *16-18 (S.D.N.Y.

Sept. 24, 2024) (allowing false advertising claim based on the defendant’s misrepresentation that

it had obtained trademark licenses “from the owners of branded golf courses,” where the licenses

“could be characterized as endorsements from these iconic courses” and thus constituted indicia

“that trademarked courses available for play on SGT were genuine and sanctioned by the courses

themselves”). In addition to being inconsistent with the statutory text, permitting false


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          As explained below, see infra Sections III.D and III.E, Plaintiffs have adequately
alleged that Lovo lacked “all commercial rights” insofar as Plaintiffs have stated claims under
the New York Civil Rights Law for misappropriation of their voices.


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advertising claims based on licensing status would allow plaintiffs to circumvent the strictures of

Dastar by “shoe-horning a claim into section 43(a)(1)(B) rather than 43(a)(1)(A).” Agence

France Presse, 769 F. Supp. 2d at 308. Thus, because Lovo’s claim that it held the requisite

“commercial rights” concerns the licensing status of the cloned voices, rather than their material

attributes or geographic origins, it is not false advertising for purposes of the Lanham Act.

       Similarly, Plaintiffs allegations that Lovo “confus[ed] potential customers . . . as to

[Plaintiffs’] affiliation with Lovo and the ability to use the Lovo service in place of traditional

access to these actors,” and that Lovo “misrepresent[ed] that [Plaintiffs] have partnered with

Lovo” are not actionable as false advertising. (AC ¶ 246(a)-(b).) Such claims are

indistinguishable from the false affiliation claims that the Court dismissed above, see supra

Section III.B.1, and Plaintiffs cannot avoid the requirement of a protectable mark by

“disguis[ing] a § 43(a)(1)(A) trademark infringement and unfair competition claim as a false

advertising § 43(a)(1)(B) claim.” 4 McCarthy § 27:50 (capitalization altered).

       Plaintiffs have also failed to identify any message in any Lovo advertisement that is

“impliedly false” in the sense that it “leaves ‘an impression on the listener or viewer that

conflicts with reality.’” Int’l Code Council, 43 F.4th at 57 (quoting Church & Dwight Co. v.

SPD Swiss Precision Diagnostics, GmBH, 843 F.3d 48, 65 (2d Cir. 2016)). In the false

advertising context, this may be accomplished by pleading actual consumer confusion. Id. at 58

n.5. But here, Plaintiffs do not allege that any consumers would be or were confused by Lovo’s

advertising, as opposed to being confused by the similarity of the synthetic voices to Plaintiffs’

voices when heard in the wild. (Cf. ECF No. 22-1.) In fact, Plaintiffs actually allege that Lovo’s

advertising was clear on the lack of connection between Plaintiffs and Lovo’s voice clones.

Lovo marketed its service as a disruptive alternative to traditional voice-over services (AC ¶ 21),




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and Plaintiffs admit that “[t]he benefit to a subscriber of using Lovo’s service is financial: they

do not have to pay the actor for the studio session, any residuals, royalties, or fees,” and “do not

need to seek the consent of the actor.” (Id. ¶ 30; see also id. ¶ 32 (“[T]he LOVO website boasts

that customers can ‘Save $$ and time on voiceovers’.”).) Plaintiffs’ other supposed falsehoods

are not interpretable as statements of fact and therefore cannot ground a false advertising claim.

(See id. ¶¶ 246(h) (“harming the reputations of [Plaintiffs] . . . by refusing to remove their voices

from the Lovo website [after they] requested disaffiliation”), 246(i) (“stealing potential

customers . . . by diverting the customers to purchase a . . . Lovo subscription”).)

       The last identifiable allegation of falsity in the Amended Complaint is that Lovo

“misrepresented the number of actors accessible through the Lovo subscription service.” (Id.

¶ 246(f).) However, Plaintiffs have not pleaded facts supporting this allegation. Rather,

Plaintiffs state that Lovo “claimed that its Generator was created using ‘1000s of voices’” (id.

¶ 22) but do not dispute the truth of this observation. Plaintiffs do not allege that Genny was

actually trained with or offers fewer than thousands of synthetic voices, only that Lovo used

some voices without permission. (Id.)

       Finally, even if Plaintiffs have identified some misleading aspects of some of Lovo’s

marketing, they have not adequately pleaded actual injury. Where “the defendant and plaintiffs

are competitors in the same market,” materiality and injury usually blend together, as “the falsity

of the defendant’s advertising is likely to lead consumers to prefer the defendant’s product over

the plaintiff’s.” Church & Dwight, 843 F.3d at 70-71. While Plaintiffs have alleged that they

risk losing sales to Lovo, they have not alleged that such losses are related to actionable false




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claims in Lovo’s advertising. 15 Rather, Plaintiffs themselves allege that the lost sales are due to
                                14F




the fact that artificial voices can be procured at lower cost and without a voice actor’s consent.

Put differently, Lovo’s services are more desirable to some customers because they are cheaper

and more accessible. While Plaintiffs might have a different cause of action for such competitive

harm, it does not sound in Lanham Act false advertising.

       Because Plaintiffs have pleaded neither falsity nor injury, their false advertising claims

under Section 43(a)(1)(B) of the Lanham Act are dismissed.

       C.      Copyright

       Plaintiffs assert four species of copyright claims. First, Sage asserts a direct infringement

claim based on Lovo’s use of her actual voice recording in an investor presentation, pitches to

investors, at a conference, and in Lovo’s external marketing materials. (AC ¶¶ 289-91.) Second,

Plaintiffs assert direct infringement claims based on Lovo’s use of Plaintiffs’ voice recordings to

train Genny. (Id. ¶ 302.) Third, Plaintiffs assert direct infringement claims based on Lovo’s use

of Genny to output “clones of their voices.” (Id.) Finally, Plaintiffs assert contributory

infringement claims based on the theory that Lovo made clones of their voices available for

third-party use. (Id. ¶ 310.)

               1.      Registration

       As an initial matter, Lovo argues that Plaintiffs cannot assert any copyright claims

because they failed to register the underlying copyrights prior to commencing this action. (Mem.

at 43 (citing 17 U.S.C. § 411(a)).) Lovo cites Fourth Estate Public Benefit Corporation v. Wall-




       15
          The one exception to this is Lovo’s allegedly false claim that it was selling fully
licensed products. See supra note 14. But, as explained above, while Plaintiffs have a legitimate
argument that this falsehood allowed Lovo to cannibalize their customers, misrepresentations
about licensing are not actionable under the Lanham Act.


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Street.com, LLC, for the proposition that copyright registration is akin to “an administrative

exhaustion requirement that the owner must satisfy before suing to enforce ownership rights.”

586 U.S. 296, 301 (2019).

       Here, however, Plaintiffs did not “institut[e]” a “civil action for infringement of the

copyright” before registering their copyrights, cf. 17 U.S.C. § 411(a), as the original complaint in

this action did not include any copyright claims (ECF No. 1). Rather, Plaintiffs waited until

Lehrman’s and Sage’s copyrights were registered, all by the end of August 2024, to bring their

copyright claims in an amended complaint filed on September 25, 2024. (AC at 65-69.) 16      15F




       The Court sees no reason to dismiss a validly filed Lanham Act and state-law action that

was later amended to include copyright claims after the copyrights had been registered. While

some district courts have interpreted Fourth Estate to require dismissal of copyright claims

without prejudice when they were first filed before registration, see e.g., Zonis v. Grubman, No.

20-CV-7181, 2022 WL 597447, at *2 (S.D.N.Y. Feb. 28, 2022); Malibu Media, LLC v. Doe, No.

18-CV-10956, 2019 WL 1454317, at *4 (S.D.N.Y. Apr. 2, 2019), the Court is unaware of any

case law requiring dismissal in a situation like the one here.

               2.      Statute of Limitations

       Lovo next argues that Plaintiffs cannot pursue claims based on alleged infringement that

occurred more than three years before they filed suit—that is, before May 16, 2021—based on

the Copyright Act’s statute of limitations. (Mem. at 44 (citing Psihoyos v. John Wiley & Sons,

Inc., 748 F.3d 120, 124 (2d Cir. 2014); 17 U.S.C. §507(b)).) In response, Plaintiffs argue that

“the claim accrues when the holder discovers or should have discovered the infringement.”



       16
           Oddly, Plaintiffs do not point this out, arguing only that dismissal for failure to register
before filing would be a waste of judicial resources. (See Opp. at 33.)


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(Opp. at 43 (citing Psihoyos, 748 F.3d at 125).) Plaintiffs are correct that “the discovery rule

determines when an infringement claim accrues under the Copyright Act,” Michael Grecco

Prods., Inc. v. RADesign, Inc., 112 F.4th 144, 148 (2d Cir. 2024), including for purposes of

assessing damages, Warner Chappell Music, Inc. v. Nealy, 601 U.S. 366, 374 (2024). Because

Plaintiffs allege that they actually discovered Lovo’s alleged infringement “on July 11, 2023,

when they heard the June 20, 2023 episode of the ‘Deadline Strike Talk’ podcast” (Opp. at 33),

the only remaining question is whether Plaintiffs should have discovered the infringement

sooner.

          Here, there is no indication that Plaintiffs failed to exercise due diligence. To the

contrary, Lovo did not initially identify itself to Plaintiffs (see, e.g., AC ¶¶ 45, 76) and allegedly

concealed from Plaintiffs the true intended uses of their recordings (see, e.g., id. ¶¶ 47, 58, 78,

79). Plaintiffs also allege that “neither [of them] had any idea what ‘speech synthesis’ was” or

“had [any] reason not to believe [Lovo’s] assurance” that their voices would be used for limited,

non-public purposes. (Id. ¶ 57.) And Plaintiffs’ quick action to stop Lovo’s use of their

recordings further supports the inference that they were exercising due diligence given the

circumstances. (Id. ¶ 111.) Any inferences to the contrary would “require[] consideration of

facts outside the complaint, and therefore could not be made on [Lovo’s] motion to dismiss.” Cf.

Michael Grecco Prods., 112 F.4th at 153. Accordingly, Plaintiffs’ copyright claims are timely.

                 3.      License

          Lovo next argues that Fiverr’s Terms of Service granted Lovo a license to use Plaintiffs’

recordings as it did. (Mem. at 42-43.) “Dismissal of a claim for copyright infringement is

proper where a contract underlying the suit clearly and unambiguously demonstrates the

existence of the defendant’s license to exploit the plaintiff’s copyrights and where plaintiff has

not shown any limitation on that license.” Ariel (UK) Ltd. v. Reuters Grp. PLC, No. 05-CV-


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9646, 2006 WL 3161467, at *5 (S.D.N.Y. Oct. 31, 2006), aff’d, 277 F. App’x 43 (2d Cir. 2008)

(summary order). Such a defense “may be raised by a pre-answer motion to dismiss under Rule

12(b)(6), without resort to summary judgment procedure, if the defense appears on the face of

the complaint.” Id. (quoting Pani, 152 F.3d at 74). Where a license agreement is not

incorporated into the complaint but is nonetheless “integral” to it, “the court may nevertheless

take the document into consideration in deciding the defendant’s motion to dismiss, without

converting the proceeding to one for summary judgment.” Int’l Audiotext Network, Inc. v. Am.

Tel. & Tel. Co., 62 F.3d 69, 72 (2d Cir. 1995); see also Marvullo v. Gruner & Jahr, 105 F. Supp.

2d 225, 233-34 (S.D.N.Y. 2000) (treating an alleged copyright license agreement as integral for

purposes of resolving a motion to dismiss).

       Lovo points to Fiverr’s Terms of Service (Mem. at 43), which provide that “when the

work is delivered, and subject to payment, the Buyer is granted all intellectual property rights,

including but not limited to, copyrights for the work delivered from the Seller, and the Seller

waives any and all moral rights therein.” (2019 TOS at 14; 2020 TOS at 13.) The Terms of

Service also state that “delivered work shall be considered work-for-hire,” and that “[i]n the

event the delivered work does not meet the requirements of work-for-hire . . . the Seller

expressly agrees to assign to Buyer the copyright in the delivered work.” (2019 TOS at 14; 2020

TOS at 13.) However, the next paragraph contains additional specifications for “Voice Over

Gigs” that are inconsistent with a transfer of unrestricted copyrights. For example, while

copyright ownership in a sound recording confers the exclusive right to reproduce it, including

for commercial purposes, Fiverr’s Terms of Service state that buyers of voice-over recordings

are only “purchasing basic rights, . . . allowing them to use the work forever and for any purpose

except for commercials, radio, television and internet commercial spots.” (2019 TOS at 14;




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2020 TOS at 13.) Buyers need to purchase higher-tier packages of either “Commercial Rights,”

in order to “promote a product and/or service,” or “Full Broadcast Rights,” in order to use the

recordings “in radio, television and internet commercials.” (2019 TOS at 14-15; 2020 TOS at

13.) Lovo concedes that it did not purchase these extra packages. (Opp. at 42; Reply at 19-20.)

       It is thus at least plausible to read the Terms of Service as creating a default rule that

buyers receive full copyright from sellers, but overriding that default in the voice-over context,

and providing instead that buyers of voice-overs receive only limited licenses. (Cf. Opp. at 33.)

Plaintiffs have therefore adequately alleged that no copyright transfer occurred, 17 and that Lovo
                                                                                   16F




thus lacked the right to, for example, use Sage’s recordings to promote its service to potential

investors. (Cf. 87-92.)

       Moreover, Plaintiffs have adequately alleged that the chat messages they exchanged with

Lovo impose additional restrictions beyond the default rules contained in Fiverr’s Terms of

Service. While the interaction of these contract terms will ultimately depend on facts not alleged

in the complaint, such as whether the parties accepted Fiverr’s Terms of Service before, after, or

at the same time as their chats with Lovo, the Court must harmonize inconsistent contract terms

where possible. Cf. Div. 5, LLC v. Fora Fin. Advance LLC, No. 24-CV-6870, 2025 WL

1548807, at *3 (S.D.N.Y. May 30, 2025). Here, the chats can plausibly be read as evincing the



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           If this were not the case, the Court would need to resolve the additional question of
whether an electronically signed “Terms of Service” document suffices as a signed writing
required by the Copyright Act to transfer a copyright. Cf. 17 U.S.C. § 204. In general, “[t]he
rule is really quite simple: If the copyright holder agrees to transfer ownership to another party,
that party must get the copyright holder to sign a piece of paper saying so.” Weinstein Co. v.
Smokewood Ent. Grp., LLC, 664 F. Supp. 2d 332, 340 (S.D.N.Y. 2009) (quoting Effects Assocs.,
Inc. v. Cohen, 908 F.2d 555, 557 (9th Cir.1990)). At least one circuit—the First—has suggested,
but not held, that so-called “clickwrap” agreements might not satisfy the requirements of § 204.
See Small Just. LLC v. Xcentric Ventures LLC, 873 F.3d 313, 320 & ns. 4-8 (1st Cir. 2017). It
appears that no other circuit, including the Second, has addressed this question.


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parties’ intent that Lovo would be able to use Plaintiffs’ voice recordings only in narrowly

circumscribed ways. See supra Section III.A.

               4.      Infringement

       To demonstrate copyright infringement, a plaintiff must show “(1) ownership of a valid

copyright, and (2) copying of constituent elements of the work that are original.” Feist Publ’ns,

Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). To show copying, the plaintiff must “first

show that his work was actually copied,” and then “he must establish substantial similarity”

between the allegedly infringing work and protected expression in his work. Tufenkian

Imp./Exp. Ventures, Inc. v. Einstein Moomjy, Inc., 338 F.3d 127, 131 (2d Cir. 2003) (quotation

marks omitted).

       “The word ‘copying’ is shorthand for the infringing of any of the copyright

owner’s . . . exclusive rights described in [17 U.S.C.] § 106.” Arista Recs., LLC v. Doe 3, 604

F.3d 110, 117 (2d Cir. 2010) (quotation marks omitted). The copyrights at issue in this case are

sound recordings. (See Mem. at 28; Opp. at 32.) Thus, the relevant exclusive rights are “to

duplicate the sound recording in the form of phonorecords or copies that directly or indirectly

recapture the actual sounds fixed in the recording,” 17 U.S.C. § 114(b), “to prepare a derivative

work in which the actual sounds fixed in the sound recording are rearranged, remixed, or

otherwise altered in sequence or quality,” id., “to distribute copies or phonorecords of the

copyrighted work to the public by sale or other transfer of ownership, or by rental, lease, or

lending,” id. § 106(3), and “to perform the copyrighted work publicly by means of a digital audio

transmission,” id. § 106(6). The rights of duplication and derivation, with respect to sound

recordings, “do not extend to the making or duplication of another sound recording that consists

entirely of an independent fixation of other sounds, even though such sounds imitate or simulate

those in the copyrighted sound recording.” Id. § 114(b).


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       To determine similarity, courts ask whether “an average lay observer would recognize the

alleged copy as having been appropriated.” Hamil Am. Inc. v. GFI, 193 F.3d 92, 100 (2d Cir.

1999). However, not all elements of a registered work are protectable, as copyright “extends

only to those components of a work that are original to the author.” Boisson v. Banian, Ltd., 273

F.3d 262, 268 (2d Cir. 2001). When a work “contain[s] both protectible and unprotectible

elements,” courts “must attempt to extract the unprotectible elements from . . . consideration and

ask whether the protectible elements, standing alone, are substantially similar.” Knitwaves, Inc.

v. Lollytogs Ltd. (Inc.), 71 F.3d 996, 1002 (2d Cir. 1995) abrogated on other grounds by Wal-

Mart Stores, Inc. v. Samara Bros., 529 U.S. 205 (2000).

                      a.      Direct Reproduction

       The direct infringement analysis regarding the reproduction of Sage’s original recording

is straightforward. Plaintiffs allege that Lovo reproduced “a part of one [of Sage’s] actual

copyrighted recordings . . . in 2020 presentations and in videos on Lovo’s YouTube channel.”

(Mem. at 42 (quoting AC ¶¶ 24, 286-91, 88-92).) Lovo appears to concede that, at least in the

2020 presentations, part of Sage’s actual recording was used, and Lovo is aware of the precise

segment of the recording on which Sage’s allegations are based. (Id. at 47 (specifying the length

of the clip and the number of words).) 18 Such usage is clearly aimed at promoting Lovo’s
                                      17F




products and services, and is therefore not covered by the license contained in Fiverr’s Terms of

Service. Cf. supra Section III.B.3.

       While the presentation incorporating Sage’s original recording was first used in early

2020, more than three years before Sage’s infringement claims accrued, see supra Section


       18
          Confusingly, Lovo tries to fault Sage for failing to specify “which of the copyrighted
recordings were allegedly infringed.” (Mem. at 46.) Clearly Sage has carried her burden here,
as she has identified the exact section of the presentation that was allegedly copied.


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III.B.2, the Supreme Court recently confirmed that such claims are timely as long as they are

brought within three years of discovery. See Warner Chappell Music, 601 U.S. at 370-74

(assuming the applicability of the discovery rule, the Copyright Act allows damages stemming

from “infringing acts occurring more than three years before [a plaintiff] filed suit”). Lovo does

not allege that Sage had any way of knowing how it had used her voice recordings prior to

hearing Lovo’s voice clones for the first time on the Deadline Strike Talk podcast. Sage has

therefore adequately alleged infringement based on Lovo’s use of her original recordings, and

Lovo’s motion to dismiss such claims is denied.

                       b.      AI Training

       Lehrman and Sage next allege direct infringement based on Lovo’s use of their

recordings to train the Genny AI model. (AC ¶ 302; Opp. at 41.) These claims fail for lack of

adequate explanation in the complaint. Throughout, Plaintiffs allege only that their voices were

“used to train Genny.” (See, e.g., id. ¶¶ 58-59, 109, 133, 139, 157-58, 269, 279, 282, 302.) They

never, in either the operative complaint or their opposition brief, explain what training is or how

it works, even at a very high level of generality. The Court therefore cannot ascertain or

reasonably infer which exclusive rights Lovo allegedly infringed, or how. While the Court

recognizes that it is difficult to plead details about a closed-source algorithm to which one does

not have access, that difficulty does not excuse the utter lack of factual detail presented here.

Cf. Iqbal, 556 U.S. at 678. Although Plaintiffs do not need to allege exhaustive detail about how

Lovo’s technology works, they have not said enough.

       However, it may be possible—even straightforward—for Plaintiffs to amend their

pleadings to remedy this deficit. Cf. Andersen v. Stability AI Ltd., 700 F. Supp. 3d 853, 866

(N.D. Cal. 2023) (granting leave to amend so plaintiff could clarify how defendant used




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copyrighted material to train its AI model). Assuming Plaintiffs lack access to granular details

about how Lovo’s technology works, cf. id. (involving “a program that is open source, at least in

part”), they may rely on information-and-belief pleading, see Arista Recs., 604 F.3d at 120, along

with generally available information about AI algorithms, see, e.g., N.Y. Times Co. v. Microsoft

Corp., No. 23-CV-11195, 2025 WL 1009179, at *4 (S.D.N.Y. Apr. 4, 2025). The Court

therefore grants Lovo’s motion to dismiss Plaintiffs’ training-based copyright claims with leave

to amend. 1918F




                       c.     AI Outputs

       Lehrman and Sage also claim copyright infringement as to the output of the Genny

model—that is, to the voice clones themselves. (AC ¶ 302; Opp. at 41.) But such claims are



       19
           Lovo raises two additional arguments, neither of which justifies denying leave to
amend. Lovo asserts, in one conclusory sentence, a defense of fair use. (Mem. at 47-48 (citing
Yang v. Mic Network, Inc., 405 F. Supp. 3d 537, 548 (S.D.N.Y. 2019) (not about AI).) Fair use
is an affirmative defense on which Lovo bears the burden. See Campbell v. Acuff-Rose Music,
Inc., 510 U.S. 569, 590 (1994). Relevant factors include the purpose and character of the work,
its nature, and the effects of the allegedly infringing conduct on the relevant market. Id. at 578-
590. Lovo has addressed none of these, nor any other relevant considerations, and therefore
cannot establish fair use on the basis of its current submissions. However, that is not to say as a
substantive matter that there is no fair use here. Cf. Bartz v. Anthropic PBC, No. 24-CV-5417,
2025 WL 1741691, at *5 (N.D. Cal. June 23, 2025) (“[T]he use of the books at issue to train
Claude and its precursors was exceedingly transformative and was a fair use under Section 107
of the Copyright Act.”). Should Plaintiffs file an amended complaint alleging more detail about
Lovo’s technology, Lovo is free to plead fair use in a more thorough fashion at that time.
        Lovo also argues that it was licensed to use Plaintiffs’ recordings to train Genny pursuant
to Fiverr’s Terms of Service. (Mem. at 43.) The specific voice-over license allows use “for any
purpose except for commercials, radio, television and internet commercial spots.” (2019 TOS at
14; 2020 TOS at 13.) However, as explained above, see supra Sections III.A, III.C.3, Plaintiffs
have plausibly alleged that the parties overrode that license in their direct chat conversations.
Those conversations limited Lovo’s use of Lehrman’s recordings to “academic research purposes
only” (AC ¶ 49), and the use of Sage’s recordings to “test scripts for radio ads” (id. ¶¶ 76, 78).
Plaintiffs allege that “academic” voice research is a defined field of study and does not include
the creation of commercial AI models. (Id. ¶ 57.) And creating “test scripts for radio ads” self-
evidently does not entail creating commercial AI models. Plaintiffs have thus plausibly alleged
that Lovo’s use of their recordings to train Genny was not licensed.


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barred by the relevant statutory language, which excludes from protection the “independent

fixation of other sounds” to “imitate or simulate” those in the protected recording. 17 U.S.C.

§ 114(b). As the Ninth Circuit has explained, “[a] new recording that mimics the copyrighted

recording is not an infringement, even if the mimicking is very well done, so long as there was

no actual copying.” VMG Salsoul, LLC v. Ciccone, 824 F.3d 871, 883 (9th Cir. 2016); cf. UMG

Recordings, Inc. v. MP3.Com, Inc., 92 F. Supp. 2d 349, 350 n.1 (S.D.N.Y. 2000) (holding that

transformation of a CD to MP3-based music files was copying, because it “create[d] a music file

that is sonically as identical to the original CD as possible” and “some slight, humanly

undetectable difference between the original and the copy does not qualify for exclusion from the

coverage of the Act”).

       Plaintiffs do not contend that Lovo ever used Genny to output perfect, AI-generated

reproductions of their original recordings, or that Genny is even capable of doing so. 20 Rather,
                                                                                            19F




they claim that Genny is able to create new recordings that mimic attributes of their voices like

“pitch, loudness, tone, timbre, cadence, inflection, breathiness, roughness, strain, jitter, (variation

in pitch), shimmer (variation in amplitude), spectral tilt, and overall intelligibility, and other

qualities.” (AC ¶ 57.) Genny then, at Lovo’s direction or the direction of Lovo’s customers,

could and did produce new audio recordings using those mimicked voices. 21     20F




       20
          While it is conceivable that an AI clone might be used to generate from scratch a
perfect copy of a copyrighted sound recording, including identical words and sonic attributes,
that scenario is not presented here.
       21
           For example, in a CNN interview, Plaintiffs compare a snippet of audio narrated by
Sage with one narrated by the AI “Sally Coleman” voice. (AC ¶ 75 n.12 (citing AI ‘stole’ our
voices. Actors show CNN comparison of their voices and alleged ‘illegal’ AI versions, CNN
(May 24, 2024), https://www.youtube.com/watch?v=_YfuSdFmPaI&t=169s (last visited June
18, 2025)). While the voices may sound similar, they are not saying the same words, and are not
identical fixations of sound within the meaning of the Copyright Act.


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       Copyright protection does not extend to this kind of imperfect mimicry, even when

accomplished using advanced technology rather than more traditional techniques like musical

covers or impersonations. What Plaintiffs are essentially asking for is copyright protection for

their voices qua voices. But copyright “must concern the expression of ideas, not the ideas

themselves,” Peter F. Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 67 (2d Cir.

2010), and does not extend to something as abstract and intangible as a “voice,” see In re

Jackson, 972 F.3d 25, 47 (2d Cir. 2020) (distinguishing between “the recognizable sound of [50

Cent’s] voice (which is not within the subject matter of copyright)” and “the copyrighted work in

which that voice is embodied (which, of course, is within the subject matter of copyright)”).

Moreover, even if copyright protection could cover voices, Plaintiffs did not attempt to register

anything but ordinary sound recordings.

       Plaintiffs’ copyright claims based on Genny’s output are therefore dismissed.

                      d.      Contributory Infringement

       Plaintiff’s contributory infringement claims are analogous to their direct infringement

claims based on Genny’s outputs, and fail for the same reason: Plaintiffs have not pleaded any

facts from which the Court can infer that any Lovo consumer reproduced the original sound

recordings for which Lehrman and Sage hold copyrights. (Cf. AC ¶¶ 309-12 (pleading only

“infringe[ment]” in conclusory terms).) “‘There can be no contributory infringement absent

actual infringement’ and no vicarious infringement absent direct infringement.” Williams v. A &

E Television Networks, 122 F. Supp. 3d 157, 165 (S.D.N.Y. 2015) (quoting Faulkner v. Nat’l

Geographic Enters., Inc., 409 F.3d 26, 40 (2d Cir.2005)) (cleaned up). Plaintiffs’ contributory

infringement claims are therefore dismissed.




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       D.      New York Civil Rights Law

       New York Civil Rights Law (“NYCRL”) Section 50 prohibits the “use[] for advertising

purposes, or for the purposes of trade, the name, portrait, picture, likeness, or voice of any living

person without having first obtained the written consent of such person,” and Section 51

provides a private right of action to any person whose voice is so used. “To establish such a

claim, the plaintiff must demonstrate each of four elements: ‘(i) usage of plaintiff’s name,

portrait, picture, or voice, (ii) within the state of New York, (iii) for purposes of advertising or

trade, (iv) without plaintiff’s written consent.’” Wilson v. Veritas Consulting Grp. Inc., No. 21-

CV-8318, 2022 WL 4227145, at *2 (S.D.N.Y. Sept. 13, 2022) (quoting Molina v. Phx. Sound

Inc., 747 N.Y.S.2d 227, 230 (1st Dep’t 2002)).

       “Unlike other jurisdictions, New York does not recognize a common-law right of

privacy,” Barbash v. STX Fin., LLC, No. 20-CV-123, 2020 WL 6586155, at *2 (S.D.N.Y. Nov.

10, 2020) (quotation marks omitted), a gap that the New York Legislature filled with Sections 50

and 51 of the Civil Rights Law, Messenger v. Gruner Jahr Printing & Pub., 208 F.3d 122, 125

(2d Cir. 2000). In light of this limited purpose, the Second Circuit has “underscored that the

statute is to be narrowly construed and ‘strictly limited to nonconsensual commercial

appropriations of the name, portrait or picture of a living person’.” Id. (quoting Finger v. Omni

Pubs. Int’l, Ltd., 77 N.Y.2d 138, 141 (1990)). In 2021, responding to the living-person

requirement, the Legislature amended Section 50 to cover a “digital replica” of a deceased

person. See NYCRL § 50-f.

       Defendants raise several objections to Plaintiffs’ claims under these provisions, each of

which the Court rejects.




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               1.      Statute of Limitations

        The statute of limitations applicable to NYCRL Section 51 is one year. N.Y. C.P.L.R.

§ 215(3); see also Richards v. Multinex Co., No. 23-7690, 2024 WL 3041330, at *1 (2d Cir. June

18, 2024) (summary order). “No court shall extend the time limited by law for the

commencement of an action.” N.Y. C.P.L.R. § 201. Plaintiffs have identified no relevant

statutory provision or rule of law that would toll the statute of limitations here. Cf. Brooks ex rel.

Est. of Bell v. The Topps Co., No. 06-CV-2359, 2007 WL 4547585, at *4 (S.D.N.Y. Dec. 21,

2007) (finding “no basis to find that New York courts would adopt a discovery rule to extend the

statute of limitations for a right of publicity cause of action”); Jewell v. Cnty. of Nassau, 917

F.2d 738, 740 (2d Cir. 1990) (“Federal courts do have the power to toll statutes of limitations

borrowed from state law, but only where application of the statute of limitations would frustrate

the policy underlying the federal cause of action.”).

       “New York courts apply a single publication rule to claims under NYCRL § 51 such that

a claim accrues ‘on the date the offending material is first published.’” Wilson v. Veritas

Consulting Grp. Inc., No. 21-CV-8318, 2022 WL 4227145, at *3 (S.D.N.Y. Sept. 13, 2022); see

also Zoll v. Ruder Finn, Inc., No. 02-CV-3652, 2004 WL 42260, at *2 n.2 (S.D.N.Y. Jan. 7,

2004) (collecting cases). Here, substantial offending material was publicized by Lovo well

before May 16, 2023—one year before the original complaint was filed on May 16, 2024. (ECF

No. 1; AC ¶¶ 24, 87, 92, 201, 125.)

       However, Plaintiffs are correct that “republication of the offending material refreshes the

limitations period.” Comolli v. Huntington Learning Ctrs., Inc., 117 F. Supp. 3d 343, 349

(S.D.N.Y. 2015). This “occurs upon a separate aggregate publication from the original, on a

different occasion, which is not merely ‘a delayed circulation of the original edition.’” Firth v.




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State, 98 N.Y.2d 365, 371 (2002) (quoting Rinaldi v. Viking Penguin, 52 N.Y.2d 422, 435

(1981)).

       If the republication exception is applicable anywhere, it is here. Unlike traditional

Section 51 cases, the alleged misuse of Plaintiffs’ voices did not involve a fixed recording,

image, name, or other immutable device. Cf. Wilson, 2022 WL 4227145, at *1 (publication of a

“name, photograph, and biography” on a website); Zoll, 2004 WL 42260 at *1 (footage from a

single broadcast commercial originally recorded in the 1970s); 22 Bondar, 2012 WL 6150859, at
                                                                21F




*1 (images of a model from a single photo shoot). Here, Plaintiffs allege that the essence of their

voices has been replicated, such that the Genny algorithm can and does continually produce

entirely new sound clips using their voices, including well into the limitations period. (AC

¶¶ 128 (estimating that “the number of projects in which Mr. Lehrman’s voice was used could

easily run into the hundreds of thousands”), 130 (alleging that as late as September 2023,

Lehrman’s voice was available to Lovo’s subscribers, who could use Lovo’s software to produce

new recordings in his voice).) Moreover, “[Lovo], not Plaintiff[s], bear[s] the burden of proof on

the affirmative defense of the statute of limitations.” Cf. Pearce v. Manhattan Ensemble

Theater, Inc., 528 F. Supp. 2d 175, 182 (S.D.N.Y. 2007). Because it is plausible that Plaintiffs

will be able to uncover facts supporting their invocation of the republication exception, the Court

declines to dismiss Plaintiffs Section 51 claims as untimely at this juncture.

               2.      Coverage for Digital Replicas

       Lovo’s main argument invokes the expressio unius canon of interpretation to suggest that

the explicit inclusion of digital replicas of deceased persons in Section 50-f means that living



       22
        For the factual background in Zoll, see Zoll v. Jordache Enters., Inc., No. 01-CV-1339,
2002 WL 31873461, at *1-3 (S.D.N.Y. Dec. 24, 2002).


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persons are excluded from the Section 50’s scope. (Mem. at 25.) However, this ignores the

legislative context in which Section 50-f was enacted. Just before the amendment was proposed,

New York courts held that digital replicas of living persons—at least ones with a visual

component—were already covered by the law. See Lohan v Take-Two Interactive Software, Inc.,

31 N.Y.3d 111, 117 (2018) (“[A] computer generated image may constitute a ‘portrait’ within

the meaning of [N.Y. Civ. Rights Law Sections 50 and 51].” ); see also Gravano v. Take-Two

Interactive Software, Inc., 31 N.Y.3d 988, 990 (2018). Thus, as one treatise explains, “[i]t

therefore was unnecessary to amend Civil Rights Law sections 50 and 51 to address digital

replicas.” 3 Entertainment Law 3d: Legal Concepts and Business Practices § 24:28 n.1 (3d ed.

2024). There is no indication in the text of Sections 50 and 50-f, or in the legislative history, that

the amendment was intended to overturn this precedent, nor to exclude the possibility of a

similar holding with respect to audio-only voice clones.

       In addition, while Lohan dealt with only the “portrait question” in the context of visual

images or avatars, see 31 N.Y.3d at 122 (capitalization altered), its logic applies equally to voice

clones. Prior to Lohan, the Court of Appeals had already held that “picture” and “portrait” in

this context include “any representation of [a] person,” and are not limited to photographs. Id.

(parenthetically quoting Binns v Vitagraph Co. of Am., 210 N.Y. 51, 57 (1913) and citing Cohen

v. Herbal Concepts, Inc., 63 N.Y.2d 379, 384 (1984)). Even highly figurative representations,

like “a composite photograph and drawing” or a “cartoon” “may trigger the protections of Civil

Rights Law article 5,” as long as they are recognizable. Id. (citing Ali v Playgirl, Inc., 447 F.

Supp. 723, 726 (S.D.N.Y. 1978) and Allen, 610 F. Supp. at 622). Indeed, “any recognizable

likeness . . . may qualify as a ‘portrait or picture.’” Id. (quoting Burck v Mars, Inc., 571 F. Supp.

2d 446, 451 (S.D.N.Y. 2008)). The rationale underlying this longstanding interpretation is that




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“[t]he statute is designed to protect a person’s identity, not merely a property interest in his or her

‘name’, ‘portrait’ or ‘picture.’” Cohen, 63 N.Y.2d at 384. 23 What matters is not whether, for
                                                             22F




example, a face is seen in a particular picture, but rather “the quality and quantity of the

identifiable characteristics displayed,” and whether they suffice to permit recognition of the

plaintiff’s identity. Id. at 384. In light of this, Lovo identifies no principled basis for interpreting

“voice” more narrowly than “picture” or “portrait” so as to exclude digital replicas. If anything,

the Court views “voice” as having a broader scope than a term like “picture,” because it cannot

plausibly be read to refer to any particular form of media or representative device.

        Finally, when confronted with new technologies, “[t]he appropriate course . . . is to

employ the theory of statutory construction that general terms encompass future developments

and technological advancements.” Lohan, 31 N.Y.3d at 121. Here, as in the visual context,

construing the Civil Rights Law to exclude digital clones would frustrate the statutory purpose,

and, for all practical purposes, enable commercial entities to appropriate individuals’ identities

without restraint. In fact, allowing such appropriation by means of AI might be even more

pernicious, because, allegedly, a functioning voice clone capable of saying anything, forever, can

be created using a small snippet of original audio. While Section 51 “is to be narrowly read” in

light of its legislative history, it is nonetheless “not to be obeyed grudgingly by construing it

narrowly and treating it as though it did not exist for any purpose other than that embraced

within the strict construction of its words.” Davis v. High Soc’y Mag., Inc., 457 N.Y.S.2d 308,

313 (2d Dep’t 1982) (quotation marks omitted). To cabin Section 51 as Lovo requests would be

to treat the law as “an alien intruder in the house of the common law” rather than “a guest to be



        23
        This also explains why Sections 50 and 51 are not preempted by the Copyright Act, as
Lovo suggests in passing in its memorandum of law. (Cf. Mem. at 35.)


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welcomed as a new and powerful aid in the accomplishment of its appointed task of

accommodating the law to social needs.” Id. (cleaned up).

                3.      Factual Allegations

        Defendant next disputes whether Plaintiffs have alleged sufficient facts concerning

recognizability, conduct within New York, and use in advertising or trade.

        First, Plaintiffs have easily cleared the bar for pleading recognizability. Not only do they

attach numerous declarations from professionals in the industry claiming that the voice clones

are recognizable as Plaintiffs (see ECF No. 22-1), but Lovo itself allegedly represented that its

creations are “practically indistinguishable from the ‘real’ voice” (AC ¶ 94 (emphasis omitted)).

At the pleadings stage, such allegations are sufficient. While it is true that “New York courts

have consistently dismissed Section 51 claims based on the use of a fictitious name, even if the

depiction at issue evokes some characteristics of the person or the person is identifiable by

reference to external sources,” Greene v. Paramount Pictures Corp., 138 F. Supp. 3d 226, 233

(E.D.N.Y. 2015), those cases all involve a fictional character sharing certain discrete attributes or

traits with a Section 51 plaintiff, not the use of the plaintiff’s portrait or voice. Of course, a voice

might be understood as an amalgam of the lower-level traits that it comprises. But Section 50

specifically chose “voice” as the relevant level of generality, and Plaintiffs have plausibly

alleged that Lovo copied their voices whole cloth, rather than merely lifting certain attributes of

their voices, like tone or pitch. Lovo cannot escape liability merely because it appended

fictitious names to those appropriated voices. To hold otherwise would carve out a massive,

judicially created loophole in the statute with no textual or doctrinal basis.

        Second, Plaintiffs have adequately alleged use in New York. The operative complaint

alleges that Plaintiffs’ voice clones were included in Lovo’s subscription package and that

“[m]any of the consumers of Lovo’s services . . . are located in New York.” (AC ¶ 175.)


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Plaintiffs also allege that Lovo did not exclude New York from its online advertising and

marketing (id. ¶ 176), and that Lovo posted marketing materials using their cloned voices to its

website and third-party platforms (see e.g., id. ¶¶ 87-93, 123-24). Taken together, this clears the

plausibility threshold with respect to use in commerce and advertising in New York. The cases

Defendant identifies are consistent with this conclusion. In Bendit v. Canva, Inc., the Plaintiff

failed to allege any use in advertisements or commerce at all, nor any of the other required

elements of her Civil Rights Law claim. See No. 23-CV-473, 2023 WL 5391413, at *8

(S.D.N.Y. Aug. 22, 2023). The complaint in that case did not even mention New York, instead

alleging use “in numerous advertisements and websites throughout the world.” Id. (quotation

marks omitted). And Pearce v. Manhattan Ensemble Theater, Inc. involved the “creation” in

New York of “deal memos and promotional materials” that were “only intended for and

distributed to an audience outside of New York.” No. 06-CV-1535, 2009 WL 3152127, at *9

(S.D.N.Y. Sept. 30, 2009). Defendant has identified no case excluding online advertisements

clearly intended for a nationwide audience, including numerous customers located in New York.

Cf. Champion v. Moda Operandi, Inc., 561 F. Supp. 3d 419, 430-31, 446 (S.D.N.Y. 2021)

(declining to dismiss Section 51 claims brought by New York residents based solely on online

publication of photos).

       Third, Plaintiffs have adequately alleged use in both advertising and trade. While “[t]he

statute does not define trade or advertising purposes,” Stephano v. News Grp. Publ’ns, Inc., 64

N.Y.2d 174, 184 (1984), New York courts give those terms their ordinary meanings.

“Advertising purposes has been defined as use in, or as part of, an advertisement or solicitation

for patronage of a particular product or service, and trade purposes involves use which would

draw trade to the firm.” Mason v. Jews for Jesus, No. 06-CV-6433, 2006 WL 3230279, at *3




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(S.D.N.Y. Nov. 8, 2006) (cleaned up); Sweigert v. Goodman, No. 18-CV-8653, 2021 WL

2678621, at *6 (S.D.N.Y. June 30, 2021) (same); Lerman v. Flynt Distrib. Co., 745 F.2d 123,

130 (2d Cir. 1984) (similar); accord Kane v. Orange Cnty. Publ’ns, 649 N.Y.S.2d 23, 25 (2d

Dep’t 1996); Davis, 457 N.Y.S.2d at 313. That said, the statute was drafted so as not to conflict

with the First Amendment, and therefore does not reach newsworthy uses or matters of public

interest. Sweigert, 2021 WL 2678621, at *7.

       Here, Plaintiffs adequately allege use in both advertising and trade, and Lovo does not

raise a First Amendment, newsworthiness, or public interest defense. Whether or not the

solicitation of investors itself counts as an “advertisement,” the function of the “investor

presentation, which was later posted publicly online, is plausibly understood as promoting

Lovo’s underlying product. (Cf. AC ¶¶ 89-90, 98-99.) The same goes for the use of Lehrman’s

voice in tutorials and promotional articles posted online. (See id. ¶¶ 123, 124, 132.) Moreover,

even if the voices were not used in formal advertisements or solicitations, they were clearly used

for commercial purposes, and to draw trade to the firm. It is plausible to infer that, by

illustrating the value of the product and helping show prospective customers how to use it, Lovo

used its publicly posted tutorials to increase the appeal of its software, acquire subscribers, and

retain subscribers it already had. (Cf. id. ¶ 132.) Plaintiffs allege even that Lehrman’s cloned

voice was Lovo’s default product and one of its self-described “best” voices. (See id. ¶ 128.)

       The Court therefore declines to dismiss Plaintiffs’ claims pursuant to Sections 50 and 51

of the New York Civil Rights Law.

       E.      New York Consumer Protection Law

       Plaintiffs next assert claims under New York’s consumer protection laws—Sections 349

and 350 of the General Business Law (“GBL”). Section 349 prohibits “[d]eceptive acts or

practices in the conduct of any business, trade or commerce or in the furnishing of any service.”


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N.Y. Gen. Bus. L. § 349(a). Section 350 prohibits “[f]alse advertising in the conduct of any

business, trade or commerce or in the furnishing of any service.” Id. § 350. “To successfully

assert a claim under either section, ‘a plaintiff must allege that a defendant has engaged in (1)

consumer-oriented conduct that is (2) materially misleading and that (3) plaintiff suffered injury

as a result of the allegedly deceptive act or practice.’” Orlander v. Staples, Inc., 802 F.3d 289,

300 (2d Cir. 2015) (quoting Koch v. Acker, Merrall & Condit Co., 18 N.Y.3d 940, 941, (2012));

see also Goshen v. Mut. Life Ins. Co. of N.Y., 98 N.Y.2d 314, 324 n.1 (2002) (“The standard for

recovery under General Business Law § 350, while specific to false advertising, is otherwise

identical to section 349.”). “The standards under [GBL 349 and 350] are substantially the same

as those applied to claims brought under Section 43(a) of the Lanham Act.” Naked Cowboy v.

CBS, 844 F. Supp. 2d 510, 518 (S.D.N.Y. 2012); see also Weight Watchers Int’l, Inc. v. Noom,

Inc., 403 F. Supp. 3d 361, 381 (S.D.N.Y. 2019) (“While the elements for alleging false

advertising and infringement under the General Business Law are otherwise similar to Lanham

Act claims, the section 349 threshold is actually higher, as there must be specific and substantial

injury to the public interest over and above the ordinary trademark infringement.” (cleaned up)).

       For the most part, Plaintiffs have failed to identify material misrepresentations for the

same reasons that they have failed to plead false statements under the Lanham Act. See supra

Section III.B.2. And Plaintiffs cannot rely on misrepresentations that Lovo made to them in the

course of their contract negotiations, as Plaintiffs were not acting as consumers in those

transactions, and Sections 349 and 350 do not reach such “narrow, private dispute[s].” Beth Isr.

Med. Ctr. v. Verizon Bus. Network Servs., Inc., No. 11-CV-4509, 2013 WL 1385210, at *7

(S.D.N.Y. Mar. 18, 2013).




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        Plaintiffs have, however, adequately alleged that Lovo misrepresented the scope of the

“commercial rights” that it promised to provide to its subscribers, thereby making its offerings

appear more attractive. (AC ¶¶ 36, 215.) Lovo’s consumers thus “purchased . . . [but] did not

receive a product with the full value with unlimited usage rights, which would have been a

product with legitimately acquired and/or created voices.” (Opp. at 25.) While the Lanham

Act’s requirement that false advertising pertain to a product’s “nature, characteristics, qualities,

or geographic origin” excludes such a claim, see supra Section III.B.2, Sections 349 and 350

have no comparable limitation. Rather, a claim is “materially misleading” for state-law purposes

if it is objectively “likely to mislead a reasonable consumer acting reasonably under the

circumstances.” Himmelstein, McConnell, Gribben, Donoghue & Joseph, LLP v. Matthew

Bender & Co., Inc., 37 N.Y.3d 169, 178 (2021); accord Noriega v. Abbott Labs., 714 F. Supp. 3d

453, 458 (S.D.N.Y. 2024).

        Lovo’s allegedly false claims about commercial rights constitute such misleading

conduct. Lovo promised its subscribers that they could use Lovo’s voice clones without legal

restrictions. While Lovo was correct with respect to federal copyright and trademark law, see

supra Sections III.B and III.C, 24 it was incorrect with respect to New York law, see supra
                                23F




Section III.D. Lovo’s consumers could, like Lovo itself, be liable under Sections 50 and 51 of

the NYCRL. Id. That Plaintiffs have not brought such claims against Lovo’s subscribers in this

suit is irrelevant, as Lovo’s subscribers still bear the risk of legal liability due to Lovo’s


        24
           It is also worth noting that Plaintiffs could not bring a similar GBL claim based on
alleged misrepresentations about a copyright license, as such a claim would be preempted by the
Copyright Act. See We Shall Overcome Found. v. Richmond Org., Inc. (TRO Inc.), 221 F. Supp.
3d 396, 412 (S.D.N.Y. 2016) (holding GBL claims to be preempted where “[t]he right being
challenged through this claim is the very right protected by the Copyright Act—the right to
restrict the performance and distribution of a copyrighted work”); Aaberg v. Francesca’s
Collections, Inc., No. 17-CV-115, 2018 WL 1583037, at *9 (S.D.N.Y. Mar. 27, 2018) (same).


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misrepresentations. Put differently, Lovo’s subscribers received a product that was worth less

than Lovo promised, because New York law prohibits certain uses of that product without

Plaintiffs’ written consent. 25
                            24F




        The other elements required for a GBL violation are likewise satisfied. Lovo’s conduct

with respect to its subscribers was “consumer oriented” in that it was “directed to consumers”

and had “a broader impact on consumers at large.” Oswego Laborers’ Loc. 214 Pension Fund v.

Marine Midland Bank, N.A., 85 N.Y.2d 20, 25 (1995) (cleaned up). Plaintiffs’ allegations thus

do not pertain to a “[p]rivate contract dispute[], unique to the parties,” id., nor a “‘single shot

transaction’ involving complex arrangements, knowledgeable and experienced parties and large

sums of money,” such as the purchase of a sports stadium, cf. Genesco Ent., Div. of Lymutt

Indus., Inc. v. Koch, 593 F. Supp. 743, 752 (S.D.N.Y. 1984). Lovo offered a product to the

public at large, and did so on misleading terms. That is the quintessential consumer-oriented

harm that Sections 349 and 350 are designed to prevent.

        What Lovo did here is distinct from cases in which defendants have misappropriated and

themselves used plaintiffs’ likenesses. For example, in Electra, 987 F.3d at 259, the Second

Circuit dismissed GBL claims where “[t]he gravamen of Appellants’ complaint is that Appellees

used their modeling images without their consent, a private dispute over a private injury visited

on the individuals portrayed in the photographs.” The court held that the mere unauthorized use

of the plaintiffs’ images was “not ‘consumer-oriented in the sense that it potentially affects

similarly situated consumers.” Id. (quoting Oswego Laborers, 85 N.Y.2d at 27) (brackets


        25
          Plaintiffs do not need to “identify specific consumers who suffered pecuniary harm,”
nor allege “specific quantifiable harm to the public at large.” N. State Autobahn, Inc. v.
Progressive Ins. Grp. Co., 953 N.Y.S.2d 96, 103 (2012). Rather, they need only plead an
“‘impact’ on consumers.” Id. at 102-03 (quoting Oswego Laborers, 85 N.Y.2d at 25). They
have done so here.


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omitted). Here, however, Lovo did more than take Plaintiffs’ voices for Lovo’s own use; rather,

Lovo resold Plaintiffs’ voices to third-party consumers for downstream use by those consumers.

Thus, unlike in Electra, the alleged misconduct here does affect similarly situated consumers in

similar ways, and is not unique to the parties. See also N. State Autobahn, Inc. v. Progressive

Ins. Grp. Co., 953 N.Y.S.2d 96, 101-02 (2012) (collecting cases and reaching a similar

conclusion).

       Finally, with respect to direct injury, Plaintiffs have adequately alleged that they suffered

injury from Lovo’s misrepresentations in the form of diverted customers and lost sales. (AC

¶¶ 206, 209, 237.) While it is true that Lovo offered its voice clones at lower prices than the

services of traditional voice actors (id. ¶ 32), Lovo was able to poach Plaintiffs’ customers only

because it purported to offer products that its subscribers could legally use—that is, because it

engaged in misrepresentations made unlawful by Sections 349 and 350. Therefore, because

Plaintiffs have adequately alleged “harm to the public at large” stemming from these

misrepresentations, Plaintiffs have standing to sue under Sections 349 and 350 based on the

economic harm they suffered as Lovo’s competitors. See Securitron Magnalock Corp. v.

Schnabolk, 65 F.3d 256, 264 (2d Cir. 1995); see also Blue Cross & Blue Shield of N.J., Inc. v.

Philip Morris USA Inc., 3 N.Y.3d 200, 207 (2004) (same); N. State Autobahn, 953 N.Y.S.2d at

105-07 (same); Allstate Ins. Co. v. Lyons, 843 F. Supp. 2d 358, 376 (E.D.N.Y. 2012) (same).

Lovo argues that Plaintiffs cannot bring these claims because they are not themselves consumers,

nor were they themselves misled. (Mem. at 29-30.) But Lovo’s arguments attempt to “graft an

additional requirement onto the statute so as to deprive [Plaintiffs] of standing based solely on

their role in the consumer transaction.” N. State Autobahn, 953 N.Y.S.2d at 107. It is now well

settled that the GBL “confer[s] on an injured business competitor standing to challenge deceptive




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conduct practiced on the consumers in its market,” and that it may do so based on allegations that

“the unlawful conduct diverted customers to competing businesses resulting in . . . lost business.”

Id. at 106-07.

       Finally, Lovo argues that Plaintiffs’ GBL claims are untimely and lack the requisite

connection to New York. (Mem. at 30-31.) Lovo’s timeliness arguments incorrectly assume

that the only relevant misrepresentations are those that Lovo made directly to Plaintiffs. (Id. at

31.) But the relevant misrepresentations for this claim are the ones that Lovo made to its

subscribers—namely, that subscribers were able to purchase full commercial rights to clones of

Plaintiffs’ voices. Plaintiffs allege that those misrepresentations continued through the filing of

the complaint. (AC ¶ 36.) And Plaintiffs have adequately alleged conduct within New York for

the same reasons as explained above. See supra Section III.D.3.

       The Court therefore declines to dismiss Plaintiffs’ GBL claims.

       F.        Fraud

       Plaintiffs’ fraud claims fail for two reasons. First, Plaintiffs do not adequately plead

compensable damages, alleging only that they “have not been fully compensated for the use of

their voices by LOVO,” “have suffered from the degradation of their services,” and “would not

have given permission for their voices to be used had they known the truth.” (AC ¶ 272.) But

Plaintiffs were compensated pursuant to their contracts with Lovo, and the allegation that Lovo

later breached those contracts does not transform Plaintiffs’ contract claims into fraud claims.

While Plaintiffs do allege that Lovo “divert[ed] legitimate customers away from them” (id.

¶ 206) and “depreciate[ed] their brands” (id. ¶ 209), Plaintiffs do not attempt to quantify the true

value of the recordings they sold to Lovo, as opposed to what Lovo paid.

       The problem is that New York follows the “out-of-pocket rule” for fraud damages, which

limits recovery to “the actual pecuniary loss sustained as the direct result of the wrong.”


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Connaughton v. Chipotle Mexican Grill, Inc., 23 N.Y.S.3d 216, 218 (1st Dep’t 2016), aff’d, 29

N.Y.3d 137 (2017) (quotation marks omitted). “In other words, damages are calculated to

compensate plaintiffs for what they lost because of the fraud, not for what they might have

gained in the absence of fraud.” Id. at 218-19 (citing Lama Holding Co. v. Smith Barney Inc., 88

N.Y.2d 413, 421 (1996)). Plaintiffs therefore may not recover in a fraud action for reputational

harm that risks future losses, id. at 219, lost profits, Delcor Labs., Inc. v. Cosmair, Inc., 564

N.Y.S.2d 771, 772 (1991), or emotional distress stemming from misuse of their voices, Juman v.

Louise Wise Servs., 770 N.Y.S.2d 305, 306 (1st Dep’t 2004). The operative complaint identifies

no other, valid theory of damages.

       Furthermore, “a fraud claim should be dismissed as redundant when it merely restates a

breach of contract claim, i.e., when the only fraud alleged is that the defendant was not sincere

when it promised to perform under the contract.” First Bank of Ams. v. Motor Car Funding,

Inc., 690 N.Y.S.2d 17, 20-21 (1st Dep’t 1999); see also Wyle Inc. v. ITT Corp., 13 N.Y.S.3d 375,

376 (1st Dep’t 2015) (“In the context of a contract case, the pleadings must allege

misrepresentations of present fact, not merely misrepresentations of future intent to perform

under the contract, in order to present a viable claim that is not duplicative of a breach of

contract claim.”). Here, Plaintiffs allege that Lovo agreed not to use their recordings except for

“academic research” and as “test scripts for radio ads.” (AC ¶¶ 45-54, 76-79). Lovo’s alleged

misrepresentation, then, is that it never intended to abide by these restrictions. Such false

promises are not actionable as fraud, as they “directly relate[] to a specific provision of the

contract.” Iken v. Bohemian Brethren Presbyterian Church, 80 N.Y.S.3d 246, 248 (1st Dep’t

2018); see also Cronos Grp. Ltd. v. XComIP, LLC, 64 N.Y.S.3d 180, 191 (1st Dep’t 2017) (“[A]

false promise is actionable as fraud only if the promised performance is outside the terms of any




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contract between the parties.”). Plaintiffs do not allege that Lovo misrepresented any other

“present fact,” such as whether it had already made or planned to make specific investments at

the time of contracting. Cf. Int’l Bus. Machs. Corp. v. GlobalFoundries U.S. Inc., 167 N.Y.S.3d

13, 14-15 (1st Dep’t 2022); Laduzinski v. Alvarez & Marsal Taxand LLC, 16 N.Y.S.3d 229, 232

(2015) (misstatements about “companies’ financial health” were actionable present facts not

“nonactionable future statements”). 26
                                   25F




       Plaintiffs’ claims for common-law fraud are therefore dismissed.

       G.      Other Common-Law Claims

       Plaintiffs assert unjust enrichment and conversion claims pursuant to New York common

law. (AC ¶¶ 252-73, 313-18.) However, “[t]he New York Civil Rights law preempts all

common law claims based on unauthorized use of name, image, or personality, including unjust

enrichment claims.” Zoll, 2004 WL 42260, at *4; see also Wilson, 2022 WL 4227145, at *2;

Frost & Miller, LLP v. Heaven’s Way Inv. Tr., 2024 WL 4648015, at *4 (S.D.N.Y. Oct. 31,

2024) (conversion claims preempted). 27 Those claims are therefore dismissed.
                                         26F




       Although Lovo does not argue that Plaintiffs’ unfair competition claim is similarly

preempted, the Court can discern no reason why it is not. As articulated here, the unfair

competition claim is effectively a common-law publicity claim, which does not exist in New

York. See Myskina v. Conde Nast Publ’ns, Inc., 386 F. Supp. 2d 409, 420 (S.D.N.Y. 2005)



       26
          Whether this requirement is characterized as singular—that the misrepresentation
concern a present fact—or dual—that it also be “collateral” to the relevant contract—is
somewhat of an open question. See Xeriant, Inc. v. XTI Aircraft Co., 762 F. Supp. 3d 345, 355-
57 (S.D.N.Y. 2025). Here, the distinction is immaterial, as Plaintiffs allege no
misrepresentations about present facts, and the alleged misrepresentations directly relate to the
putative contracts between the parties.
       27
          But see Ippolito v. Ono-Lennon, 526 N.Y.S.2d 877, 883 (N.Y. Sup. Ct. N.Y. Cnty.
1988) (allowing Section 51 and fraud claims to proceed together).


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(“There is no independent common law cause of action in the right to privacy or publicity.”). In

any event, “[t]he elements of an unfair competition claim under New York law are identical to

the elements of an unfair competition claim under the Lanham Act (which in turn mirror the

elements of a false endorsement claim),” except that the test for showing confusion is slightly

different and Plaintiffs must also show “bad faith.” Bondar, 2012 WL 6150859, at *5. 28   27F




Accordingly, for the reasons explained above in Section III.B.1, Plaintiffs fail to state a common-

law unfair competition claim.

IV.    Conclusion

       For the foregoing reasons, Lovo’s motion to dismiss is GRANTED IN PART and

DENIED IN PART. The motion is denied as to Sage’s copyright claims based on the use of her

original voice recording, and as to Plaintiffs’ contract claims, New York Civil Rights Law

claims, and New York General Business Law claims. The motion is granted with leave to amend

as to Plaintiffs’ copyright claims based on the use of their recordings to train the Genny AI

model. The motion is otherwise granted. 29 Because Lovo has not separately moved to dismiss
                                           28F




       28
           The bad faith element “considers whether the defendant adopted its mark with the
intention of capitalizing on the plaintiff’s reputation and goodwill and on any confusion between
its and the senior user’s product.” Bondar, 2012 WL 6150859, at *5 (cleaned up). Beyond
conclusory allegations that “Defendant’s conduct was knowing, characterized by malicious
intent, and explicitly designed to deceive the general public” (see, e.g., AC ¶ 242), the operative
complaint does not allege facts supporting an inference that Lovo acted with the intent of
generating confusion or coopting Plaintiffs’ reputations (as opposed to the desirable
characteristics of their voices).
       29
          In a brief footnote, Plaintiffs request “leave to replead . . . to remedy any insufficiency”
in the operative complaint. (Opp. at 44 n.6.) While Plaintiffs are correct that courts “should
freely give leave when justice so requires,” Fed. R. Civ. P. 15(a)(2), whether to grant such leave
“is within the sound discretion of the district court.” McCarthy v. Dun & Bradstreet Corp., 482
F.3d 184, 200 (2d Cir. 2007). Courts need not grant leave to amend when amendment would be
futile. Hill v. Curcione, 657 F.3d 116, 123 (2d Cir. 2011). Here, Plaintiffs have already
amended once, and the operative complaint includes copious detail. Furthermore, the bases for
dismissal here are predominantly legal in nature: that the Copyright Act covers only discrete
expressions, not voices as such; that Lanham Act false association applies only to source


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Plaintiffs’ putative class claims, those claims also survive to the extent that Plaintiffs’ individual

claims survive, and are otherwise dismissed. 3029F




       Plaintiffs shall file a letter within 14 days of the publication of this opinion indicating

whether they intend to amend the complaint with respect to their training-based copyright claims.

If Plaintiffs do not elect to amend, Defendants shall file an answer to the surviving claims within

14 days of Plaintiffs’ letter. If Plaintiffs do elect to amend, Defendants shall file any motion to

dismiss the amended claims within 21 days of Plaintiffs’ amended complaint. Defendants’

answer to the other remaining claims shall not be due until 14 days after the Court resolves any

such motion to dismiss.

       The Clerk of Court is directed to close the motion at Docket Number 27.

       SO ORDERED.

Dated: July 10, 2025
       New York, New York

                                                     ____________________________________
                                                                J. PAUL OETKEN
                                                            United States District Judge


identifiers; and that most of Plaintiffs’ state common-law claims are preempted by the New York
Civil Rights Law. To the extent that dismissal is based on factual gaps in the operative
complaint, such as Plaintiffs’ failure to plead any falsehoods actionable under the Lanham Act, it
is unclear what additional detail a second amended complaint might add. So too with Plaintiffs’
failure to establish secondary meaning in their voices. Unlike Plaintiffs’ claims about AI
training, the problem is not a paucity of information in the operative complaint, but rather that
the extensive information provided fails to state particular claims. In such a situation, the Court
is “well within its discretion in denying . . . leave to amend. See Arnold v. KPMG LLP, 334 F.
App’x 349, 352–53 (2d Cir. 2009) (summary order) (“Plaintiff failed to identify those facts that
would save his complaint, should he be granted leave to amend, with sufficient specificity.”); see
also Hayden v. Cnty. of Nassau, 180 F.3d 42, 53 (2d Cir. 1999) (“[W]here the plaintiff is unable
to demonstrate that he would be able to amend his complaint in a manner which would survive
dismissal, opportunity to replead is rightfully denied.”). Leave to amend is therefore denied
except with respect to Plaintiffs’ copyright claims about AI training.
       30
         Plaintiffs “concede that ‘John Doe’ does not exist, and so Causes of Action Four, Five,
and Nine, should be dismissed.” (Opp. at 44 n.6.)


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